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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


PROGENY, a program of Destination Innovations, Inc.,
CHRISTOPHER COOPER, ELBERT COSTELLO,
MARTEL COSTELLO, and JEREMY LEVY, JR.,
on behalf of themselves and others similarly situated,

                                      Plaintiffs,

        vs.                                                  Case No. 6:21-cv-01100-EFM-ADM

CITY OF WICHITA, KANSAS,

                                      Defendant.


                Motion for Summary Judgment and Memorandum in Support

        The City of Wichita (City) moves for judgment as a matter of law and submits the following

brief in support.

                                     I. Nature of the Matter

        Plaintiffs seek a declaration that K.S.A. 21-6313 through K.S.A. 21-6316 are

unconstitutional. Plaintiffs further seek to enjoin the Wichita Police Department from maintaining

or implementing a “Gang List” which documents gang members and associates and Plaintiffs

further seek an order dismantling its Gang List.

        Plaintiffs’ claims must fail because (1) K.S.A. 21-6313 through K.S.A. 21-6316 are not

unconstitutional and (2) the maintenance of a Gang List (without regard to whether any plaintiff

is included on the Gang List) does not deprive any person of a constitutionally protected interest.




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                                      II. Statement of Facts

A.      WPD’s Gang Database and the Master Gang List

        1.     History

        1.     As early as 1989, the WPD had a Gang Unit with officers assigned to investigate

gang-related crimes. Exhibit 2, Easter dep., Vol. I, 12:14-16; 21:5-19.

        2.     At some point during the 1990s, the WPD created a list of criteria to be used for

consistent identification of criminal street gang members. Exhibit 2, Easter dep., Vol. I, 22:5-11.

        3.     When Kansas had an influx of gang members coming in from both California and

Oklahoma, law enforcement agencies around the state were claiming individuals were gang

members but there were no consistent criteria being used to make these determinations. Exhibit 2,

Easter dep., Vol. I, 26:7-17; 36:20-37:3; 54:7-10.

        4.     Between 1999 and 2002, the Wichita Mayor tasked the WPD to work on a “gang

plan” to address the rising violent crimes mainly perpetrated by gang members. This included

meeting with community members and continuing to develop criteria to identify criminal street

gang members. Exhibit 2, Easter dep., Vol. I, 17:10-13; 36:3-38:10.

        5.     Around 2006, the Chief of Police and the Mayor of Wichita requested then-

Lieutenant Jeff Easter to draft a proposal to identify criminal street gang members and associates

using criteria, which he did in consultation with community groups, other law enforcement

agencies, as well as the Mayor’s office and Sedgwick County District Attorney’s office, the.

Exhibit 2, Easter dep., Vol. I, 37:10-38:10; 42:17-20.

               a.      K.S.A. 21-6313

        6.     Easter’s proposed language was packaged with SB 366 and other criminal-related

amendments to the criminal law. See 2006 SB 366 and L. 2006, ch. 194, § 6.

        7.     The original language was changed by the Revisor’s office, introduced, then


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amended by the Senate Judiciary Committee, then the House Judiciary Committee, and then the

Conference Committee. Exhibit 2, Easter dep. Vol. I, 57:16-19. Upon passage by both Chambers,

SB 366 was signed into law by Governor Sebelius on May 19, 2006. See id.

        8.     Chapter 21 of Kansas’s Statutes Annotated lists Crimes and Punishments. Article

63 defines Crimes Against the Public Safety. SB 366 was listed as 21-6313 and assigned to Chapter

21 and Article 63 because it involves crimes against public safety.

        9.     K.S.A. 21-6313 underwent amendment in 2011 and 2013; In 2011, the Legislature

expanded the definition used for criminal activity to include “any felony violation of any provision

of the uniform controlled substances act prior to July 1, 2009.” In 2013, the Legislature enacted

the Kansas Racketeer Influenced and Corrupt Organizations (RICO) Act, which incorporated the

definitions provided in 21-6313. The statute also individualized criteria that were previously listed

as one criterion and removed the criterion indicating an individual’s residence was indicative of

gang membership. Exhibit 39, Beard Exhibit 37.

        10.    At all times, K.S.A. 21-6313 has and does define (a) a criminal street gang, (b) a

criminal street gang member, (c) criminal street gang activity, (d) a criminal street gang associate,

and (e) a gang-related incident. K.S.A. 21-6313 does not require an act, nor does it prohibit specific

conduct. It does not impose a sanction, fine, or penalty. K.S.A. 21-6313.

        11.    The definition of a street gang member, found in (b), necessarily includes criminal

activity. K.S.A. 21-6313(a); Exhibit 3, McKenna dep., 141:19-142:21.

        12.    The definitions from K.S.A. 21-6313 are referenced elsewhere in the statute,

including K.S.A. 21-6328 (Kansas’s RICO Act), K.S.A. 21-3614 (recruiting criminal street gang

members), K.S.A. 21-6315 (criminal street gang intimidation), and K.S.A. 21-6316 (setting bail

for criminal street gang members, with exceptions)―all under the umbrella of criminal activity.




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               b.     WPD Policy 527

        13.    The WPD formalized its procedure for identifying and documenting gang members

into WPD Policy 527. Although it is unknown when Policy 527 was initially created, it was in

place by 2003 and was changed to align with K.S.A. 21-6313 after its enactment. Exhibit 2, Easter

dep. Vol. I, 33:19-32:6; Exhibit 4, Beard 30b6 dep., 99:6-100:5.

        14.    WPD Policy 527 incorporates by the definitions and criteria in K.S.A. 21-6313.

Policy 527, § I.E.1 (“Initial identification will be based upon the aforementioned Criminal Street

Gang Member or Associate Criteria found in K.S.A. 21-6313.”) Exhibit 5, WPD Policy 527.

        15.    WPD Policy 527 does not require an act by any citizen, nor does it prohibit specific

conduct. It does not impose a sanction, fine, or penalty. Exhibit 5, WPD Policy 527.

        2.     The Gang List is not public and unavailable to most WPD personnel.

        16.    The Gang Database is the repository for gang intelligence data which includes

active, inactive, and deceased members and associates of criminal street gangs. Exhibit 6, Bernard

Declaration.

        17.    By contrast, the Master Gang List consists of the current active criminal street gang

members and associates from the Gang Database. Exhibit 7, Salcido dep., 132:15-16; 223:9-15.

        18.    EJustice, later replaced by NICHE, is a records management system that documents

all incidents of crime. Exhibit 7, Salcido dep., 226:25-227:2; Exhibit 8, Beard dep., 82:16-22.

        19.    EJustice only contains entries from the Master Gang List, not the Gang Database.

Gang intelligence officers, after receiving required specialized training, are responsible for

updating EJustice with gang designations, both adding new documented members and removing

inactive members. Doc. Exhibit 8, Beard dep., 82:9-83:1; Exhibit 9, Hemmert dep., 65:18-66:10.

        20.    Access to EJustice/NICHE is available to commissioned law enforcement

personnel but information in EJustice is accessible to WPD Law Enforcement personnel only


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through a name search. Doc. Exhibit 8, Beard dep., 40:1-41:5.

        21.    A different law enforcement tool is SPIDER (Special Policy Information Data

Entry and Retrieval). Officers can contact SPIDER to request information on outstanding warrants

or request other services such as a tow truck. Doc. Exhibit 8, Beard dep., 40:13-21.

        22.    SPIDER pulls its information from Ejustice/Niche; therefore, it can only provide a

hit for active criminal street gang members. Exhibit 10, Inkelaar dep., 73:1-7.

        23.    The responder from SPIDER will advise an officer, including non-gang officers

when an individual they are encountering with is an active criminal street gang member or

associate by saying “signal 33.” Doc. Exhibit 8, Beard dep., 40:22-41:5; Policy 527 § I.D.

        24.    Inactive and deceased criminal street gang members are not visible on SPIDER, or

Ejustice/NICHE, and cannot be accessed except by non-Gang Intelligence Officers. Exhibit 6,

Bernard Declaration.

        25.    Under Policy 527, Officers include the gang membership in a probable cause

affidavit for person felonies. Exhibit 10, Inkelaar dep., 73:1-7; Policy 527 § I.C.4.a.2.

        26.    The inclusion of gang membership in an affidavit to the Court is only for those

persons on the Master Gang List, i.e., that are currently active criminal street gang members or

associates. Policy 527. Exhibit 6, Bernard Declaration. Thus, affidavits for persons who are

inactive in the database do not include information about gang documentation.

        27.    The Master Gang List is not published to anyone; it resides in the Gang Database

as persons documented as active gang members or associates. The database itself is not shared

with other agencies (since 2008-2009) and information from the database is provided only for

approved law enforcement purposes. See Policy 527; Exhibit 6, Bernard Declaration.

        28.    Through discovery, no details could be located regarding the allegation that the list




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was ever made public. Exhibit 11, Johnson dep., 52:3-9; Exhibit 12, Parker-Givens dep., 91:9-23;

Exhibit 13, Speer dep., 94:17-97:9. There is no admissible evidence that the Master Gang List is

made public or that it is published—either historically or currently; there are only anecdotal stories

of the list having once been posted at a barber shop and of a landlord asking for an updated copy

of the list. No details could be given regarding the anecdotes that the list was ever made public—

nobody has personal knowledge of it happening. Exhibit 11, Johnson dep., 52:3-9; Exhibit 12,

Parker-Givens dep., 91:9-23; Exhibit 13, Speer dep., 94:17-97:9.

        29.    The one known instance of unauthorized disclosure resulted in criminal charges

filed against the offending officer. See Exhibit 14, Charging affidavit, State v. Wendell Nicholson,

Sedgwick County Case No. 2023-CR-000628-FE.3

        30.    Nonetheless, safeguards are in place to prevent such publication—the Master Gang

List is not printed. While the entries that would comprise the Master Gang List is a query or report

that can be produced from the Gang Database, such lists are not created or printed. Exhibit 6,

Bernard Declaration. (The “lists” produced to plaintiffs in this action were specific queries/reports

generated for discovery in this matter subject to the Protective Order herein).

        31.    Information from the database (not the database itself) is provided only for

approved law enforcement purposes on an individual-by-individual basis. MOUs to maintain

confidence are in place with other law enforcement agencies that exchange gang intelligence. Doc.

Exhibit 8, Beard dep., 296:3-10; Exhibit 9, Hemmert dep., 93:22-94:1; Exhibit 15, MOU with U.S.

Probation Office.

        3.     The Process: WPD Gang Intelligence Officers vet all nominations prior to
               inclusion and again annually.

        32.    All WPD officers undergo gang-related training to learn what a gang is, as defined

by statute, what a gang member is, as defined by statute, and the criteria required for verification.



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All officers are also instructed on the local gangs that have an identified presence in Wichita and

their identifiers, as well as a review of previous incidents involving those gangs. The training

consists of four hours in the academy and two additional hours annually. Doc. Exhibit 8, Beard

dep., 189:16-190:21; 193:1-8.

        33.    Individuals may be identified during criminal investigations as being involved in

criminal activity and, during the course of the investigation, the officers see signs or indicators of

gang membership. Exhibit 16, Bartel dep., 127:16-128:1.

        34.    Any WPD officer may nominate someone for inclusion in the database. When an

officer notices an individual meeting criteria, or when an individual admits to the officer their

status as a criminal street gang member, the officer is trained to complete a TOPS card to

“nominate” someone for inclusion on the database. All TOPS cards are forwarded to the Gang

Intelligence Unit for review. Exhibit 16, Bartel dep., 128:4-10.

        35.    Although any officer can nominate someone, the Gang Database is administered

exclusively by Gang Intelligence Officers. Gang Intelligence Officers are the only WPD officers

who may add a person to the Gang Database, inactivate a person in the Gang Database, or remove

a person from the Gang Database: Exhibit 6, Bernard Declaration. See Policy 527 § 1.B.1 (“The

information will be researched by a member of the Gang/Felony Assault Section or VCCRT. … .

The individual will be added to the Master Gang List if they meet the criteria defined in K.S.A.

21-6313.”).

        36.    Persons are added to the Gang Database in the first instance either (1) through

research and contacts by gang intelligence officers or (2) (a) by nomination for inclusion on the

database by non-gang officers followed by (b) review and verification by Gang Intelligence

Officers that the subject meets the criteria for inclusion on the Master Gang List. Exhibit 16, Bartel




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dep., 127:16-128:15. WPD Policy 527 incorporates by the definitions and criteria in K.S.A. 21-

6313. Policy 527, § I.E.1 (“Initial identification will be based upon the aforementioned Criminal

Street Gang Member or Associate Criteria found in K.S.A. 21-6313.”)

        37.    Gang Intelligence Officers have specialized training and experience to apply

statutory criteria to any individual nominated for inclusion. Exhibit 3, McKenna dep., 163:17-

164:16. Gang Intelligence Officers use their training, experience, and knowledge of the

neighborhoods to make the determinations for inclusion in the Master Gang List, Exhibit 10,

Inkelaar dep., 116:13-24, and they converse with each other to discuss individual situations.

Exhibit 17, Gilmore dep., 150:20-151:9.

        38.    The Courts have recognized Gang Intelligence Officers as experts in the area of

gangs and allow them to testify as such in criminal trials. Doc. Exhibit 8, Beard dep., 264:16-22.

See also State v. Brown, 285 Kan. 261, 267, 173 P.3d 612, 620 (2007), abrogated on other grounds

by State v. Williams, 306 Kan. 175, 392 P.3d 1267 (2017); State v. Tran, 252 Kan. 494, 847 P.2d

680 (1993).

        39.    Disparate application of the criteria is avoided by training the officers and the

context of information used. Exhibit 9, Hemmert dep., 168:18-169:18. For example, WPD Officers

are trained to understand the distinctions between a reliable informant and an informant of untested

reliability. Officers also understand the information must be documented. Exhibit 6, Bernard

Declaration.

        40.    Incidental contact is insufficient to justify inclusion. Associating with known gang

members requires conduct indicative of joining or connection based on gang affiliation. Exhibit 6,

Bernard Declaration.

        41.    Immediate family members are exempted and not employed as a criterion of




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associating with known gang members. Doc. Exhibit 8, Beard dep., 249:10-14, Exhibit 6, Bernard

Declaration.

        42.    Self-admission is a common method by which gang members and associates are

identified. Exhibit 16, Bartel dep., 128:-13; 136:18-137:5; Doc. Exhibit 8, Beard dep. 31:18-33:7,

56:2-3, 56:19-21; Exhibit 17, Gilmore dep., 44:7-44:16; Exhibit 9, Hemmert dep., 42:19-43:22.

        43.    Some individuals self-admit because they are proud to be a gang member. Exhibit

16, Bartel dep., 130:12-23. A lot of individuals are comfortable confirming their membership and

do not try to hide it: “it’s almost written on a shirt.” Exhibit 18, Thatcher dep., 98:11-17.

        44.    But even self-admits are verified by gang intelligence officers through watching the

reporting officers’ AXON video. Exhibit 3, McKenna dep., 165:18-166:14; Exhibit 16, Bartel dep.,

120:7-11; 128:18-129:6; Exhibit 9, Hemmert dep., 182:3-18; Exhibit 10, Inkelaar dep., 83:15-23;

Exhibit 7, Salcido dep., 197:12-198:5; Exhibit 3, McKenna dep., 163:17-164:16. Gang Intelligence

Officers confirm hearing the person self-admit before adding them to the Master Gang List; a

social media post alone does not suffice. Exhibit 3, McKenna dep., 168:15-25.

        45.    The WPD does not maintain a map identifying specific gang areas. However, there

are known areas where gang members hang out and engage in criminal activity, Exhibit 2, Easter

dep. Vol. II, 54:21-55:20.

        46.    Determinations by Gang Intelligence Officers for inclusion in the database depend

on the totality of circumstances, knowledge, and experience. Exhibit 17, Gilmore dep., 124:19-

125:11.

        47.    The reviewing officer looks at the information with skepticism to ensure there is a

very specific reason for inclusion, Exhibit 9, Hemmert dep., 175:9-176:4, and Gang Intelligence

Officers lean toward being underinclusive rather than overinclusive. Exhibit 3, McKenna dep.,




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153:1-15.

        4.       The Master Gang List undergoes a full audit every year.

        48.      WPD Policy 527 requires an annual audit to ensure accuracy and remove expired

individuals. Policy 527 § I.E.1.

        49.      This is a painstaking process in which every name and every case are reviewed

every year. Exhibit 17, Gilmore dep., 98:15-25.

        50.      The WPD Gang Intelligence Officers understand accuracy is critical. Exhibit 13,

Speer dep., 56:25-57:12.

        51.      The annual audits consist of reviewing each individual to confirm if they meet the

required criteria or determine if they no longer meet criteria. Doc. Exhibit 8, Beard dep., 88:15-

89:4, 90:8-11.

        52.      WPD removes persons from the Master Gang List if the person goes three years

without being involved in anything that meets statutory criteria for a criminal street gang member

or associate. Beard 30b6, 21:18-21:23; Policy 527, § I.E.1.

        5.       Removal from the Master Gang List

        53.      Any person may request a meeting with the gang commander and offer information

to challenge inclusion and request removal. Exhibit 16, Bartel dep., 126:20-127:2; Exhibit 4, Beard

30b6 dep., 21:24-22:6.

        54.      When a person is no longer considered an active gang member or associate, the

designation is removed from the WPD records management system, EJustice/NICHE, as a

documented gang member. Exhibit 16, Bartel dep., 120:11-18, 122:2-24, 141:10-142:6; Doc.

Exhibit 8, Beard dep., 77:1-8; Exhibit 4, Beard 30b6 dep., 21:13-23; Exhibit 19, Cory dep., 78:7-

97:13. This also means SPIDER will no longer notify officers the person is “signal 33.” Doc. 186-

21, Declaration of J Bernard. That person’s status in the Gang Database is changed from active to


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inactive and they are no longer on the Master Gang List. Policy 527, § E.1.

        55.    The historic information retained in the database—criminal intelligence—is

necessary to effectively investigate, solve and/or prevent crimes in the present. Doc. Exhibit 8,

Beard dep., 136:8-17.

        56.    Access to view information on inactive members is restricted even further than

access to the Master Gang List. Exhibit 16, Bartel dep., 121:24 – 122:24.; Doc. Exhibit 8, Beard

dep., 77:1-8; Exhibit 4, Beard 30b6 dep., 21:13-23; Exhibit 19, Cory dep., 78:7-97:13.

        57.    Only the Gang Intelligence Officers have access to view the information in the

Gang Database. Exhibit 16, Bartel dep., 121:24-122:24.

        58.    Once inactive (i.e., removed from the Master Gang List), a person must again meet

criteria (self-admit or meet the required multiple statutory criteria) before again being included on

the Master Gang List. Beard 30b6, 26:10-26:20; Policy 527, § I.E.1.

        6.     Juvenile Notifications

        59.    WPD attempts to notify and contact guardians of juveniles about inclusion in the

Gang Database. Exhibit 17, Gilmore dep., 94:8-17; Exhibit 4, Beard 30b6 dep., 23:9-24:2.

        60.    Initially, certified letters were sent, but many of those were returned undelivered.

Doc. Exhibit 8, Beard dep., 138:22-10. Because sending certified letters was ineffective, officers

instead began making phone calls and physically visiting the homes to make contact, documented

in the database. Doc. Exhibit 8, Beard dep., 107:4-15; 139:10-23; 108:15.

        61.    Currently, the gang officers and juvenile intervention unit officers work together

and visit the home to make personal contact, making phone calls only when multiple attempts to

visit the home and school are unsuccessful. Id., 139:24-140:15; Exhibit 4, Beard 30b6 dep., 24:9-

12.




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B.      Individually Named Plaintiffs

        1.    Christopher Cooper

        62.   Cooper attended Highland Community College near St. Joseph Missouri following

graduation from high school in 2013. Exhibit 20, Cooper dep, 31:16-32:1; 32:22-33:5.

        63.   Highland gave Cooper a scholarship to play football, and he received a second

scholarship from the U.S. Army because of his father’s military service. Exhibit 20, Cooper dep,

36:19-37:1.

        64.   Cooper was injured during the first season of football while playing for Highland

and was unable to complete the season. Exhibit 20, Cooper dep, 33:24-34:25

        65.   Cooper was never on the track team for Highland Community College. Exhibit 20,

Cooper dep, 35:9-16.

        66.   Cooper was charged with first-degree murder in 2014 and went to jail after being

interviewed by the police. Exhibit 20, Cooper dep, 62:7-12.

        67.   Cooper was accused of murdering Juan Orona. C. Cooper Depo., 20:19-16.

        68.   The Judge set Cooper’s bond during a hearing. Exhibit 20, Cooper dep, 41:4-11.

        69.   Coooper thinks his bond was about $50,000. C. Cooper Depo., 40:19-21.

        70.   Cooper didn’t think a $50,000 bond was low for someone charged with first-degree

murder. Exhibit 20, Cooper dep, 41:1-2.

        71.   Cooper was convicted of obstructing justice in 2016. Cooper Dep., 22:21-23:8.

        72.   The U.S. Army discontinued its scholarship to Cooper at the time of his conviction.

Exhibit 20, Cooper dep, 66:12-15.

        73.   Cooper never applied to Kansas State University (“K-State”). Exhibit 20, Cooper

dep 38:14-18; 76:6-7.

        74.   K-State did not offer Cooper a scholarship. Exhibit 20, Cooper dep, 37:2-38:16.


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        75.    Cooper did not attend K-State because they would not let a convicted felon live on

campus. Exhibit 20, Cooper dep, 64:2-65:8; 76:10-12.

        76.    Cooper thinks living off campus required him to do “too much.” Exhibit 20, Cooper

dep, 64:2-65:8.

        77.    Cooper also did not apply for admission to Wichita State University (“WSU”).

Exhibit 20, Cooper dep, 75:17-21.

        78.    Cooper believes he can never go back to school because of his criminal record as a

violent offender, Exhibit 20, Cooper dep, 70:9-17,

        79.    Cooper believes all employers run background checks as part of the application

process and he assumed an employer can see that he was listed on a gang database on the

background check. He assumed if he applied for a job and didn’t get a call back it was because of

the background check. Exhibit 20, Cooper dep, 49:21-52:24.

        80.    Cooper doesn’t believe the gang list denied him job opportunities; he testified he

assumes all employers run background checks and would see his criminal history. Exhibit 20,

Cooper dep, 49:21-52:24.

        81.    Cooper’s probation conditions prevented him from participating in public events,

such as the Wichita River Festival. Exhibit 20, Cooper dep, 69:13-70:6; 74:14-75:16.

        82.    The limits of Cooper’s employment positions occur because of his probation

conditions, such as limiting his participation in public events such as the Wichita Riverfest. Exhibit

20, Cooper dep, 69:13-70:6.

        83.    Cooper understands the conditions of his probation were determined by a judge,

Exhibit 20, Cooper dep, 41:16-42:6,

        84.    Cooper’s probation was monitored by community corrections. Exhibit 20, Cooper




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dep, 42:7-9.

         85.    Cooper recognizes his inability to attend certain community events were due to his

probation conditions, not inclusion on the gang list. Exhibit 20, Cooper dep, 74:14-75:16.

         86.    Cooper was pulled over by law enforcement maybe two times when he was in high

school and a few times after graduating high school for a total of 5-6 times. Exhibit 20, Cooper

dep, 43:7:24.

         87.    Cooper admits the WPD had a reason to pull him over for the traffic stops and that

he has never filed a complaint with the WPD regarding the stops. Exhibit 20, Cooper dep, 44:20-

45:9.

         88.    Cooper consented to a search request when he was pulled over by law enforcement.

Exhibit 20, Cooper dep, 70:24-71:2.

         89.    Cooper did not drive a car registered in his name before his arrest for first degree

murder, Exhibit 20, Cooper dep, 55:16-56:6,

         90.    Cooper does not recall if he was pulled over following his arrest and jail time in

2017. Exhibit 20, Cooper dep, 43:25-44:11.

         91.    Cooper was told by other people that police were hiding in the bushes and taking

pictures of him. Exhibit 20, Cooper dep, 71:17-19, but Cooper never saw any police and had no

contact with police officers. Exhibit 20, Cooper dep, 76:16-24.

         92.    Cooper assumed he could not associate with family members since they were also

on the gang list and a condition of his probation was that he could not associate with gang

members. Exhibit 20, Cooper dep, 52:25-53:14.

         93.    Another condition of Cooper’s probation was to not associate with other convicted

felons. Exhibit 20, Cooper dep, 54-13:15. The family members Cooper alleges he was unable to




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associate with were convicted felons. Exhibit 20, Cooper dep, 54:8:12.

        94.    Cooper could not produce a single document, communication, statement,

memorandum, recording, photograph, drawing, note, journal, blog, email, social media account,

or report to support any of the facts relating to any of the allegations set forth or the harm he’s

suffered as a direct result of being included on the WPD’s gang database. Exhibit 21, C. Cooper

Response to Defendant’s First Request for Production, ## 1, 2, 3, 4, 5, 6, 7, 8, 12, 14, and 15.

        95.    Cooper has not made any attempt to contest his designation as a criminal street

gang member. Exhibit 21, C. Cooper Response to Defendant’s First Request for Production, # 17.

Cooper has not attempted to file a complaint or report regarding the WPD’s alleged conduct.

Exhibit 21, C. Cooper Response to Defendant’s First Request for Production, # 18, 19.

        96.    Cooper has maintained employment since 2014. Exhibit 22, C. Cooper Response

to Defendant’s First Interrogatories, # 6.

        2.     Jeremy Levy, Jr.

        97.    Levy claims that he was stopped by police at a QuickTrip when he was thirteen

years old and told he could not go to certain QuickTrips or Towne East Mall or wear certain colors.

Exhibit 23, Levy dep., 32:6-32:22.

        98.    Levy believes he was on the gang file because ‘police’ told him he could not go to

these places. Exhibit 23, Levy dep., 32:6-23.

        99.    Levy assumed he did not get a job at “Lids” because he was on the gang list, but

does not know why he did not get the job. Exhibit 23, Levy dep., 32:24-35:4.

        100.   After being convicted as a juvenile, Levy claims he was told he could not apply for

a job working in a hospital and be a gang member but cannot remember the name of the company,

anyone he spoke to or if the employer did background checks. Exhibit 23, Levy dep., 35:5-36:20.

        101.   Levy was convicted of first-degree murder that occurred in 2017 and is serving a


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sentence of 25 years to life. Exhibit 23, Levy dep., 17:23-18:9; Exhibit 28, M. Costello Exhibit 85.

        102.     Levy admits his trial attorney challenged the admissibility of testimony from the

WPD regarding his gang affiliation at his pre-trial and trial. Exhibit 23, Levy dep., 25:23-26:13.

        103.     The judge overruled the challenge and allowed the testimony. Exhibit 23, Levy

dep., 26:5-13.

        104.     Levy contested his conviction and the use of gang testimony on appeal. See State

of Kansas v. Jeremy D. Levy, 485 P.3d 605 (2021).

        105.     The Kansas Supreme Court found that “[t]he district court did not err when it held

Detective Hemmert’s gang testimony was relevant. There was significant evidence “that gang

membership or activity [was] related to the crime charged.” Id. at 239 (citation omitted).

        106.     Further the Supreme Court ruled the evidence not unduly prejudicial. Id at 240.

        107.     Levy admits his family members are active criminal street gang members and that

he spent time with them. Exhibit 23, Levy dep., 19:17-20:7; 30:7-17; 30:23-31:8.

        108.     Levy was aware for multiple years before his arrest for first-degree murder that the

WPD considered him a criminal street gang member, and he never challenged the designation.

Exhibit 23, Levy dep., 31:14-32:5.

        109.     Levy admits his inclusion on the Gang List did not increase his sentence. Exhibit

23, Levy dep., 40:9-15.

        110.     Levy admits he does not know what his conditions of release on parole will be, so

he has no support to allege they will be different from anyone else’s. Exhibit 23, Levy dep., 40:17-

24.

        111.     Levy could not produce a single document, communication, statement,

memorandum, recording, photograph, drawing, note, journal, blog, email, social media account,




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or report to support any of the facts relating to any of the allegations set forth or the harm he’s

suffered as a direct result of being included on the WPD’s gang database. Exhibit 21, Levy’s

Response to Defendant’s First Request for Production, ## 1, 2, 3, 4, 5, 6, 7, 8, 12, 14, and 15.

        112.   Levy has not made any attempt to contest his designation as a criminal street gang

member. Exhibit 24, Levy’s Response to Defendant’s First Request for Production, # 17.

        113.   Levy has not attempted to file a complaint or report regarding the WPD’s alleged

conduct. Exhibit 21, C. Cooper Response to Defendant’s First Request for Production, # 18, 19.

        3.     Martel Costello

        114.   M. Costello was convicted of criminal damage to property in 2012, intimidation of

a witness in 2013, and in 2017 for multiple felonies committed in 2016 and 2017. Exhibit 25, M.

Costello dep., 27:20-10; 28:25-29:7; 29:24-30:6; 32:16-33:16 and Exhibit 27, M. Costello Exhibit

84.

        115.   M. Costello was renewed on the gang list in 2016 for being in the company of other

gang members, including his father, Plaintiff Elbert Costello. Exhibit 26, Carson Declaration.

        116.   M. Costello believes that either the judge or the probation officer imposed probation

conditions on him, including gang conditions. Exhibit 25, M. Costello dep., 35:21-36:15.

        117.   M. Costello’s probation was revoked upon a violation and M. Costello was

sentenced to serve his underlying sentence. Exhibit 25, M. Costello dep., 39:17-23.

        118.   M. Costello understands that a judge revoked his probation for staying out past

curfew, not for associating with other gang members, regardless of what information he was told

by others. Exhibit 25, M. Costello dep., 43:21-45:4; Exhibit 25, M. Costello depo Exhibit 86.

        119.   M. Costello’s probation was revoked for failing to obey the law and four instances

of violating curfew. Exhibit 25, M. Costello dep., Exhibit 86.

        120.   M. Costello understands the sanctions for his parole violations that resulted in a


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revocation of his parole and a return to jail were not violations of gang conditions. Exhibit 25, M.

Costello dep., 39:24-42:10.

        121.   M. Costello had prior probation violations for alcohol and being out past curfew six

times and was placed on house arrest for 90 days. Exhibit 25, M. Costello dep., 49:13-25, 49:21-

25.

        122.   During his house arrest period M. Costello’s house was shot at and his cousin

Plaintiff Christopher Cooper was shot, causing officers to search his house eventually locating a

handgun. Exhibit 25, M. Costello dep., 50:2-4; 50:25-51:12, 57:4-12.

        123.   Officers took photographs of pictures and clothing, including a red shirt, red hat,

red pants, and a shirt with a picture of him and his brother that officers had laid out on a bed.

Exhibit 25, M. Costello depo., 51:16-52:07

        124.   M. Costello does not know the names of the officers that allegedly harassed him,

nor does he recall details of each encounter. ROG 13.

        125.   M. Costello does not recall the specific dates of any traffic stops. Exhibit 10,

Interrogatories to M. Costello.

        126.   M. Costello was engaged in various criminal activities during this time. Dep.,

27:20-10; 28:25-29:7; 29:24-30:6; 32:16-33:16 and Exhibit 27, M. Costello Exhibit 84.

        127.   M. Costello designated himself as a Pirus gang member on an intake form he signed

upon his entry into the Ellsworth Correctional Facility on February 22, 2021. Exhibit 25, M.

Costello dep., 45:8-46:17; Exhibit 25, M. Costello depo Exhibit 31, M. Costello Exhibit 87.

        128.   M. Costello was not placed under arrest, was not threatened with arrest, and was

not prevented from moving freely by an officer who recognized him at a convenience store. Exhibit

25, M. Costello dep., 59:14-60:21.




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        129.   M. Costello could not produce a single document, communication, statement,

memorandum, recording, photograph, drawing, note, journal, blog, email, social media account,

or report to support any of the facts relating to any of the allegations set forth or the harm he’s

suffered as a direct result of being included on the WPD’s gang database. Exhibit 32, M. Costello

Response to Defendant’s First Request for Production, ## 1, 2, 3, 4, 5, 6, 7, 8, 12, 14, and 15.

        130.   M. Costello has not attempted to contest his designation as a criminal street gang

member. Exhibit 323, M. Costello’s Response to Defendant’s First Request for Production, # 17.

        131.   M. Costello did not file a complaint or report regarding the WPD’s alleged conduct.

Exhibit 32, M. Costello’s Response to Defendant’s First Request for Production, # 18, 19.

        132.   M. Costello has been employed in between his convictions and parole violations

since October 2017. Exhibit 30, M. Costello’s Response to Defendant’s First Interrogatories, # 6.

        4.     Elbert Costello

        133.   E. Costello was convicted of manslaughter in 1997 when he shot and killed

someone following an altercation. Exhibit 33, E. Costello Dep., 19:6-17.

        134.   E. Costello was sentenced to 51 months in the Kansas Department of Corrections

(KDOC). Exhibit 33, E. Costello Dep Exhibit 63.

        135.   The Salina Police Department informed WPD that E. Costello was a suspected gang

member causing him to be listed as a gang associate in the WPD Gang List. Affidavit of C. Cason

¶ 8.

        136.   E. Costello understands that a court sets bond and probation conditions and those

conditions are enforced by probation officers. Exhibit 33, E. Costello Dep., 50:11-17.

        137.   E. Costello agrees there is no evidence to indicate the conditions of his post-release

were higher because of his gang affiliation. Exhibit 33, E. Costello Dep., 23:8-24.

        138.   E. Costello can’t remember the last time he was stopped by the police, but it was at


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least four years ago. Exhibit 33, E. Costello Dep., 23:25 -25:2.

        139.   While E. Costello claims he was subjected to “increased surveillance and

harassment by the WPD officers” it has been at least four years since he was stopped. Exhibit 33,

E. Costello Dep., 24:21-25:1, and the alleged harassment started after E. Costello was released

from prison in 2000. Exhibit 33, E. Costello Dep., 25:3-7.

        140.   E. Costello was discharged from post-release supervision on June 22, 2003. Exhibit

33, E. Costello Dep., 27:23 -28:3

        141.   No restrictions were imposed on E. Csotello following his post-release supervision

discharge in 2003. Exhibit 33, E. Costello Dep., 28:6 -29:1.

        142.   E. Costello stated he was on probation for a drug paraphernalia conviction in 2011.

Exhibit 33, E. Costello Dep., 26:3-9 49:19-50-6.

        143.   He admits his probation was revoked several times but can’t recall what for, other

than he believed one was for being a gang member. Exhibit 33, E. Costello Dep., 46:18-47:7.

        144.   He claims his probation officer threatened to revoke him for wearing a shirt with

red writing on it but did not do so. Exhibit 33, E. Costello Dep., 47:12-20.

        145.   Since release from prison E. Costello has been arrested nine times, has been present

at three shootings and one shots fired incident. Exhibit 26, Carson Declaration.

        146.   E. Costello was informed by his intake counselor that the prison assigns points

based on the crime committed to determine the classification status, but he doesn’t remember if he

had to answer any questions related to gang affiliation when he was first brought into custody.

Exhibit 33, E. Costello Dep., 20:24 -21:21.

        147.   E. Costello has been employed by the same employer for seven years and has been

employed steadily since 2013 Exhibit 33, E. Costello Dep., 6:3-5; Exhibit 34, E. Costello’s




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Response to Defendant’s First Interrogatories, # 6.

        148.   E. Costello could not produce a single document, communication, statement,

memorandum, recording, photograph, drawing, note, journal, blog, email, social media account,

or report to support any of the facts relating to any of the allegations set forth or the harm he’s

suffered as a direct result of being included on the WPD’s gang database. Exhibit 35, E. Costello

Response to Defendant’s First Request for Production, ## 1, 2, 3, 4, 5, 6, 7, 8, 12, 14, and 15.

        149.   E. Costello has not attempted to contest his designation as a criminal street gang

member. Exhibit 34, E. Costello’s Response to Defendant’s First Request for Production, # 17.

        150.   E. Costello did not file a complaint or report regarding the WPD’s alleged conduct.

Exhibit 34, E. Costello’s Response to Defendant’s First Request for Production, # 18, 19.

        151.   E. Costello has been employed in between his convictions and parole violations

since October 2017.

        4.     Progeny

        152.   Progeny started operation in 2015 or 2016. Exhibit 36, Atkins Dep., 9:6-7.

        153.   Progeny is a juvenile justice initiatives program of Destination Innovation, Inc.

Exhibit 36, Atkins Dep., 9:16-22.

        154.   Destination Innovation, Inc did not become a non-profit until 2018. Exhibit 36,

Atkins Dep.,

        155.   Progeny did not become a part of Destination Innovation, Inc until 2021. Exhibit

36, Atkins Dep., 9-13.

        156.   Progeny is governed by the Destination Innovations (DI) board. Exhibit 36, Atkins

Dep., 65:18-66:16. The board “governs” but does not make program decisions. Exhibit 36, Atkins

Dep., 67:11-18.

        157.   All programming decisions for both DI and Progeny are ultimately made by the


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executive director, Marquetta Atkins; although there is a three-person team that weighs in, and

some decisions involve the youth. Exhibit 36, Atkins Dep., 67:19-24; 68:9-20; 68:25-69:3.

          158.   Progeny works with youth touched by the juvenile justice system to teach them

leadership, how to change policy in a way that it impacts them. Exhibit 36, Atkins Dep., 14:25-

15:3.

          159.   Progeny visits schools and youth organizations from around the City of Wichita.

Exhibit 36, Atkins Dep., 21:20-22:6.

          160.   Progeny estimates it is asked to speak to youths or engage other organizations 12

times a year. Exhibit 36, Atkins Dep., 24:17-22.

          161.   Progeny went through a building stage where they engaged about five people in

2016 and 2017. Exhibit 36, Atkins Dep., 25:14-26:14.

          162.   Progeny hosted an event in partnership with the City regarding recent shootings.

Exhibit 36, Atkins Dep., 27:9-13.

          163.   Prior to the pandemic Progeny’s events “ebbed and flowed” as they came into

contact with juveniles in trauma. Atkin Dep., 27:21-28:2.

          164.   Progeny continued to have meetings until the Pandemic hit in 2020 then started

hosting meetings on Zoom. Exhibit 36, Atkins Dep., 28:13-29:13.

          165.   Progeny started in-person meetings again in 2022, when Progeny started hosting

hybrid meetings on Monday and Thursdays. Progeny then started meeting at its new center in

2023. Exhibit 36, Atkins Dep., 29:16-25.

          166.   Progeny members have met consistently on Monday and Thursday throughout 2023

with occasional issues based upon ‘whatever other events are happening.’ Exhibit 36, Atkins Dep.,

21:4-9.




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        167.   The Pandemic impacted Progeny attendance ‘greatly’. Exhibit 36, Atkins Dep.,

31:11-20.

        168.   Pre-pandemic attendance at meetings could range from a low of three to a high of

60. Exhibit 36, Atkins Dep., 32:5-33:4.

        169.    Post-pandemic attendance at Progeny meetings are about the same. Exhibit 36,

Atkins Dep., 33:5-9.

        170.   A typical event will have about 60 people attending. Exhibit 36, Atkins Dep., 33:12.

        171.   In early 2023 they had a meeting that was standing room only of about 60 people.

Exhibit 36, Atkins Dep., 32:22-33:4.

        172.   Attendance at Progeny’s Monday and Thursday meetings varies between a low of

three to four people and a high of eleven to fifteen and has varied consistently since before the

pandemic. Aktins Dep., 33:15-34:10.

        173.   Attendance at events varies and is inconsistent. Exhibit 36, Atkins Dep., 34:14-17.

        174.   Throughout 2022 and 2023 Progeny testified that it held dozens of events. Exhibit

36, Atkins Dep., 70:1-77:16.

        175.   Progeny’s list of meetings and events is published on its website, although several

more events occur that are not published on the website. Exhibit 36, Atkins Dep., 32:23-25; 73:20-

21.

        176.   Progeny’s membership numbers have been consistent throughout the pandemic,

Exhibit 36, Atkins Dep., 33:25-34:10, and attendance at meetings are the same post-pandemic as

they were pre-pandemic. Exhibit 36, Atkins Dep., 33:5-9.

        177.   The Executive Director of Progeny, Marquetta Atkins, is unable to provide specific

details of the harms alleged; she testified to providing information to her attorneys who then wrote




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out the discovery responses, but she could not qualify the responses when confronted. Exhibit 36,

Atkins Dep., 99:19-100:21.

        178.   Despite claims that Progeny cannot hold events where some Progeny members

would be in direct proximity with individuals on the gang list Progeny refused to identify any

individual this would affect. Aktins Dep., 91:14-92:11.

        179.   At the event where allegedly “way too much WPD” came and kids were scared to

attend, a total of one WPD officer sat outside, across the street, and did not engage with anyone

until Atkins initiated a conversation with him. Exhibit 36, Atkins Dep., 73:21-74:3; 93:7-94:15;

94:25-96:1. The event was a sign-making event to prepare to protest the Governor’s re-direction

of funds. Exhibit 36, Atkins Dep., 93:23-94:15. The officer did not engage with anyone except for

the Progeny representatives who went to speak to him. Exhibit 36, Atkins Dep., 95:21-96:1.

        180.   Progeny, through Atkins, claims some kids told her they would not come to the

event because of the officer being present outside. Aktins Dep., 94:14-24.

        181.   Progeny testified that the event was cancelled because it did not want “them to

engage with the WPD in any kind of way or be profiled in any kind of way.” Atkin Dep., 94:5-7.

        182.   No specific harm could be identified by Progeny’s 30(b)(6) designee. Exhibit 36,

Atkins Dep., 92:7-11.

        183.   Progeny does not allege that any arrests of their members was unlawful. Exhibit 36,

Atkins Dep., 96:25:97:11.

        184.   There is no evidence that any Plaintiff or Progeny member was unlawfully arrested.

        185.   When asked questions about the information provided in the response to

interrogatories, Progeny’s 30(b)(6) designee could not supply details to allow Defendant to

identify any officer, date, time, or location involved in the purported instances. Exhibit 36, Atkins




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Dep., 97:12-103:18.

        186.   In response to Defendant’s request for specific information to support Plaintiff’s

accusation that “Progeny members and youth leaders have been harassed by WPD officers on

numerous occasions,” none of the examples Plaintiff provided include a time of day, location, or

officer involved in the alleged incident for Defendant to further investigate. Exhibit 37, Progeny

Response to Interrogatories, #9.

        187.   In response to Defendant’s request for specific information to support Plaintiff’s

accusation that “Progeny members and youth leaders have been harassed by WPD officers on

numerous occasions,” eight examples listed eyewitnesses who were promised to be identified later

but were not; the remaining three were witnessed by Marquetta Atkins, who could not provide

specific information when asked in the deposition. Exhibit 37, Progeny Response to

Interrogatories, #9; Exhibit 36, Atkins Dep., 97:12-103:10.

        188.   In response to Defendant’s request for specific information to support Plaintiff’s

accusation that “Progeny members and youth leaders have been harassed by WPD officers on

numerous occasions,” the dates provided were vague, such as “various dates throughout 2017” or

“somewhere between May and August of 2022,” preventing Defendant from being able to

investigate the allegation. Exhibit 37, Progeny Response to Interrogatories, #9.

        189.   Plaintiff provided a total of eleven instances of members and/or youth leaders

harassed by WPD: eight were for one person, N.M., who is not included as one of the four Progeny

staff and members allegedly “subjected to increased surveillance, reputational harm, and other

negative consequences[.]:” Id.; Doc. 196, Pre Trial Order, § 3.a,vi,a,

        190.   Of the individually identified Progeny staff and members, only one (D.B.W.) is

included in Plaintiff’s response to Defendant’s interrogatory seeking specific information, and that




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one individual is only one of the eleven instances vaguely described. Id.

        191.   There is no evidence that any of the instances of harassment identified by Progeny

violated the Fourth Amendment or any statute.

                                    III. Questions Presented

1.      Plaintiffs lack Article III standing. On the record and evidence, Plaintiffs have not and do

        not (a) suffer an injury in fact, (b) that is fairly traceable to the WPD’s Policy 527 and

        maintenance of a Gang Database, (c) that is likely to be redressed by a favorable judicial

        decision.

        a.     On the record and evidence, Plaintiffs do not suffer and have not suffered an

               invasion or deprivation of a legally protected interest that is concrete and

               particularized and actual or imminent that is caused by WPD’s Policy 527 and

               maintenance of a Gang Database. The injuries claimed by Plaintiffs are the

               incidents of criminal conduct and involvement with the criminal justice system—

               incidents which occur without regard to K.S.A. 21-6313, Policy 527, and/or the

               Gang Database.

        b.     The injuries claimed by Plaintiffs are not legally protected interests and are not

               traceable to WPD’s Policy 527 and maintenance of a Gang Database. Identification

               as gang members or associates does not alter a person’s legal status. Policy 527,

               K.S.A. 21-6313, and maintenance of the Gang Database does prohibit any

               constitutionally protected expression or association. Policy 527, K.S.A. 21-6313,

               and maintenance of the Gang Database does not prohibit or restrict Plaintiffs’

               ability to associate or hold meetings. Plaintiffs claimed injuries are not an

               objectively justified fear of real consequences of Policy 527 or K.S.A. 21-6313, as

               there are no real consequences from Policy 527 or K.S.A. 21-6313.


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        c.     Plaintiffs’ claimed injuries are not redressed by the relief they request. Plaintiffs,

               like all persons, are subject to surveillance by law enforcement, arrest, prosecution,

               conviction, sentencing and the incidents to each step of the criminal justice system.

2.      WPD Policy 527 and K.S.A. 21-6313 not unconstitutionally vague, whether facially or as-

        applied. Neither, Policy 527 nor K.S.A. 21-6313 prohibit any conduct and do not impinge

        on First Amendment freedoms.

        a.     Inherent to the definition of a criminal street gang (and, thus, a criminal street gang

               member or associate) is an organization, association or group with a primary

               activity of committing person crimes or felony drug crimes.

        b.     K.S.A. 21-6313, K.S.A. 21-6314, K.S.A. 21-6315, and K.S.A. 21-6316 do not

               reach a substantial amount of constitutionally protected conduct, are not

               impermissibly vague in all of their applications, and do not authorize or encourage

               arbitrary and discriminatory enforcement.

        c.     People of ordinary intelligence can understand the conduct prohibited by K.S.A.

               21-6314 and K.S.A. 21-6315. As applied, objective evidence supported the

               identification of Plaintiffs as criminal street gang members or associates.

        d.     For the instances in which any Plaintiff was subject to bail, confinement, and

               conditions of release—the bail, confinement and conditions were imposed by a

               court accompanied by the due process rights afforded by the code of criminal

               procedure.

3.      K.S.A. 21-6313 and WPD Policy 527 do not deprive any Plaintiff of a liberty interest

        without due process—they do not significantly alter a state-recognized right. The harms or

        injuries claimed by Plaintiffs—bail, conditions of pretrial release and post-conviction




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        confinement or supervision—exist independent of K.S.A. 21-6313 or WPD Policy 527 and

        are not altered by K.S.A. 21-6313 or WPD Policy 527. K.S.A. 21-6313 and WPD Policy

        527 do deprive any Plaintiff of a constitutionally protected right and due process is not

        required apart from that already afforded by the code of criminal justice.

4.      K.S.A. 21-6313 and WPD Policy 527 do not infringe upon the Plaintiffs rights of

        expression or association. K.S.A. 21-6313 and WPD Policy 527 do not prohibit or punish

        any expression. K.S.A. 21-6313 and WPD Policy 527 do not prohibit or punish association

        with family, other gang member, or with any other person, group or entity. Plaintiffs’

        assertions of injury are allegations of subjective chill and do not present a claim for a

        specific current objective harm or a threat of specific future harm. Plaintiffs’ subjective

        allegations of chill do not arise from an objectively justified fear of real consequences

        imposed by K.S.A. 21-6313 or WPD Policy 527.

                                      IV. Argument and Authorities

A.      Plaintiffs lack Article III standing. The Court lacks subject matter jurisdiction.

        The “Judicial Power” of the federal courts extends only to “Cases” and “Controversies.”

U.S. Const. art. III, § 2; see Hollingsworth v. Perry, 570 U.S. 693, 704 (2013). A case or

controversy requires that a plaintiff possess standing to sue as “[s]tanding to sue is a doctrine

rooted in the traditional understanding of a case or controversy.” Spokeo, Inc. v. Robins, 136 S. Ct.

1540, 1547 (2016). Article III standing requires the plaintiff to “have (1) suffered an injury in fact,

(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Id. “As the party invoking federal jurisdiction, plaintiff

bears the burden of establishing each element of Article III standing.” Id.

         “[T]he proof required to establish standing increases as the suit proceeds.” Davis v. Fed.

Election Comm’n, 554 U.S. 724, 734 (2008). “At the pleading stage, general factual allegations of


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injury resulting from the defendant’s conduct may suffice,” while on summary judgment, the

plaintiff “must ‘set forth’ by affidavit or other evidence ‘specific facts,’ … which for purposes of

the summary judgment motion will be taken to be true.” Lujan v. Defs. of Wildlife, 504 U.S. 555,

561 (1992) (quoting Fed. R. Civ. P. 56(e)). “Regardless of the stage of litigation at which the court

evaluates standing, the standing inquiry remains focused on whether the party invoking jurisdiction

had a sufficient stake in the outcome when the suit was filed.” Rio Grande Found. v. Oliver, 57

F.4th 1147, 1162 (10th Cir. 2023).

        These gatekeeping requirements are designed to ensure the judiciary’s “proper role in our

system of government,” one in which the courts do not “usurp the powers of the political

branches.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013). When managing local

policing, federal courts are to be particularly mindful of their limited role: The “special delicacy

of the adjustment to be preserved between federal equitable power and State administration of its

own law” means courts must show “restraint in the issuance of injunctions against state officers

engaged in the administration of the states’ criminal laws in the absence of irreparable injury which

is both great and immediate.” City of Los Angeles v. Lyons, 461 U.S. 95, 112 (1983) (citations

omitted).

        “An allegation of future injury may suffice if the threatened injury is ‘certainly impending,’

or there is a ‘“substantial” risk that the harm will occur.’” Susan B. Anthony List, 573 U.S. at 158

(quoting Clapper, 568 U.S. at 409, 414 n.5).

        1.      The individual plaintiffs lack standing for injunctive relief.

        Plaintiffs claim past injuries and threat of future injuries that are not and cannot be directly

related to their inclusion in the Gang List. As this Court noted, Plaintiffs here must demonstrate a

continuing injury or credible threat of imminent harm because their alleged past injuries, standing

alone, cannot support a request for prospective relief―the type being requested here. ECF. 28, p.


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13, citing PeTA v. Rasmussen, 298 F.3d 1198, 1202 (10th Cir. 2002).

        To show an injury-in-fact, a plaintiff must demonstrate “an invasion of a legally protected

interest which is (a) concrete and particularized and (b) actual or imminent, not conjectural or

hypothetical.” Initiative & Referendum Inst. v. Walker, 450 F.3d 1082, 1087 (10th Cir. 2006)

(quoting Lujan, 504 U.S. at 560). “Although ‘imminence’ is concededly a somewhat elastic

concept, it cannot be stretched beyond its purpose, which is to ensure that the alleged injury is not

too speculative for Article III purposes—that the injury is ‘certainly impending.’ “ Lujan, 504 U.S.

at 564 n.2.

        None of the Plaintiffs have been subjected to punishment, or threatened punishment, for

gang membership or association or for associating with family, gang members or anyone else.

There is no admissible evidence to support Plaintiffs’ allegation that their designation as a

“criminal street gang member” or “associate”on WPD’s Gang list is itself an ongoing injury, or is

an injury that is “certainly impending.”

        2.     Progeny lacks standing.

        To have standing to sue on its own behalf, a Plaintiff Association must show (among other

things) that the association has suffered injury in fact. Lujan v. Defenders of Wildlife, 504 U.S.

555, 560-61 (1992).

        This Court dismissed Progeny’s attempt to seek relief on behalf of its members and held

the allegations of the necessity to divert resources did not meet the required elements to

demonstrate standing. ECF 28, at 17-20. Though Progeny’s remaining allegations of direct First

Amendment injuries survived a motion to dismiss, they do not survive the requirements under a

summary judgment standard. Progeny claims injury to its right of association owing to the statutory

criteria, and attendant WPD policy, that a person may be added to the Gang List simply by

associating with the other persons already on the list. Because of this, Progeny alleges it is


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prevented from holding town hall or other large gatherings. Progeny cannot base its claims on

behalf of its members, but only on its own behalf.

        An organization does not have standing merely because it pursues laudable goals or

sincerely believes in an issue. See Milwaukee Police Ass’n v. Flynn, 863 F.3d 636, 639 (7th Cir.

2017) (“an interest in the underlying law does not equal an injury”); Plotkin, 239 F.3d at 886

(“[G]ood intentions are not enough for federal standing.”). Progeny cannot demonstrate that

K.S.A. 21-6313 or WPD Policy 527 prevents Progeny from holding any type of event. Progeny

can, has, and continues to hold meetings and events without restriction or consequence from

K.S.A. 21-6313 or WPD Policy 527.

        3.      Being listed on the gang list is not an injury—WPD Policy 527 does not
                prohibit any conduct and does not penalize any conduct.

        Plaintiffs’ claims are premised on an assertion that being on the Gang List causes injury in

the form of punishment without due process because it restricts association and/or expression.

Progeny then builds the premise and claims people forego such association to spare themselves

and their families the “consequences” of the statute and policy.

        Plaintiffs contend that:

        Pretrial, probation, and parole gang release conditions are also based significantly
        on the WPD’s designation of individuals as gang members or associates. Those
        conditions include prohibitions on speech content and free association, as well as
        chilling exercise of First Amendment rights.

Pretrial Order, p. 21. Plaintiffs claim:

        [K.S.A.] 21-6313 and WPD Policy 527 violate the rights of plaintiffs and others
        similarly situated to freedom of United States Constitution by prohibiting certain
        constitutionally protected expressive and associative behaviors. Specifically, the
        WPD’s designation of individuals as gang members and associates (leading to
        significant legal and social harm) based on their contact with others in their own
        families, neighborhoods, religious, political and social groups, as well as
        designation based on clothing, gestures, speech, and tattoos punishes plaintiffs and
        others for engaging in activity protected by the First Amendment



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Pretrial Order, p. 41-42. Plaintiffs also claim:

        [K.S.A.] 21-6313 and WPD Policy 527 violate the rights of plaintiffs and others
        similarly situated to freedom of association and expression under the First
        Amendment by having a chilling effect on certain constitutionally protected
        expressive and associative behaviors. Specifically, the WPD’s designation of
        individuals as gang members and associates (leading to significant legal and social
        harm) based on individuals’ contact with others in their own families,
        neighborhoods, religious, political and social groups, as well as designation based
        on clothing, gestures, speech, and tattoos unconstitutionally deters plaintiffs from
        engaging in activity protected by the First Amendment.

Pretrial Order, p. 42. Finally, Plaintiffs claim:

        Each individual Plaintiff faces reputational harm because the information in the
        Gang Database has been disseminated to the public, and are routinely shared with
        the Sedgwick County Sherrif’s Office, the Kansas Department of Corrections, all
        WPD commissioned officers and resource officers present in Wichita schools.

Pretrial Order, pp. 15-16, 22-23.

        Gang membership is not a crime. Association with gang members is not a crime. No

plaintiff has been deprived of a constitutional right to associate or constitutional right of expression

because of K.S.A. 21-6313 or WPD Policy 527. No plaintiff, prospective class member, or any

person have been nor could ever be charged for violating K.S.A. 21-6313 or WPD Policy 527.

K.S.A. 21-6313, itself, is not a criminal statute and does not prohibit, proscribe, or penalize any

conduct—whether associational conduct or expressive conduct. Likewise, WPD Policy 527 does

not prohibit, proscribe, or penalize any conduct—whether associational conduct or expressive

conduct. Each Plaintiff, and every other person, is free to associate with any person they choose,

wear any clothing they choose, make any gesture they choose, engage in any speech they choose,

and get any tattoo they choose.

        Being identified as a gang member or associate and being listed on the Gang List or in the

Gang Database is not, itself, an injury. Nor does documentation/identification as a gang member

or associate prohibit any expressive conduct. Inclusion on the gang list or in the database does not



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punish any person. A person included or listed will, often, never know they were identified or

listed as a gang member or associate.

        Being listed on the gang list or in the database, itself, has no effect on any plaintiff.

Identification as a gang member or associate by the WPD does not prevent any person from

associating with family. Punishment is permitted only after a person is convicted of a crime.

Restrictions on associations and conduct may be imposed as conditions of pretrial release for

persons charged with a crime, and as conditions of various post-conviction release, confinement

and sentencing. However, as discussed more fully below, conditions of release, conviction and

sentencing (1) are not imposed by the City of Wichita, (2) are imposed by a court, prisoner review

board, or the secretary of corrections, and (3) are all accompanied by due process protections under

the code of criminal procedure. Thus, Plaintiffs lack standing because of their inability to

demonstrate the second prong. Any injury suffered is not traceable to the challenged conduct of

the WPD.

        No plaintiff and no prospective class member has been charged with a violation of K.S.A.

21-6314 or K.S.A. 21-6315.

        4.     The “harms” identified by plaintiffs are not harms imposed by K.S.A. 21-6313
               or WPD Policy 527.

        The WPD does not impose conditions of release or confinement on criminal defendants,

whether pretrial or post-conviction. As more fully discussed below, conditions of release are

imposed by the court, the secretary of corrections, and the prisoner review board. Plaintiff identify

conditions of release—both pretrial and post-conviction as the harms at issue.

               a.      Condition of pretrial release

        Criminal defendants in Kansas are afforded the right to make bail by the Kansas

Constitution Bill of Rights. “Excessive bail shall not be required, nor excessive fines imposed, nor



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cruel or unusual punishment inflicted.” Kan. Const. Bill of Rights, § 9. The right to bail requires

an individualized determination whether the detainee poses a risk to himself or others. State v.

Cuchy, 270 Kan. 763, 19 P.3d 152 (2001) (mandatory detention period for all persons arrested for

DUI before presentation to magistrate, absent individualized determination risk posed by arrestee

violates the right to bail).

        Post-arrest proceedings for criminal cases are generally set out in Chapter 22, Article 29.

K.S.A. 22-2901(1) provides in part: “If the arrest has been made on probable cause, without a

warrant, [the defendant] shall be taken without unnecessary delay before the nearest available

magistrate and a complaint shall be filed forthwith.” Once before the magistrate, the “magistrate

shall fix the terms and conditions of the appearance bond upon which the defendant may be

released.” K.S.A. 22-2901(3).

        Pretrial release is set out in Chapter 22, Article 28. K.S.A. 22-2801 provides: “The purpose

of this article is to assure that all persons, regardless of their financial status, shall not needlessly

be detained pending their appearance to answer charges or to testify, or pending appeal, when

detention serves neither the ends of justice nor the public interest.” Specifically, K.S.A. 22-2802

requires an individualized assessment by the magistrate with respect to the availability of bail,

release prior to trial, the conditions of release, the amount of an appearance bond, and whether to

require cash bond or personal recognizance.

        (1) Any person charged with a crime shall, at the person’s first appearance before
        a magistrate, be ordered released pending preliminary examination or trial upon the
        execution of an appearance bond in an amount specified by the magistrate and
        sufficient to assure the appearance of such person before the magistrate when
        ordered and to assure the public safety. If the person is being bound over for a
        felony, the bond shall also be conditioned on the person’s appearance in the district
        court …. Unless the magistrate makes a specific finding otherwise, if the person is
        being bonded out for a person felony or a person misdemeanor, the bond shall be
        conditioned on the person being prohibited from having any contact with the
        alleged victim of such offense for a period of at least 72 hours. The magistrate may



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        impose such of the following additional conditions of release as will reasonably
        assure the appearance of the person for preliminary examination or trial:

               (a) Place the person in the custody of a designated person or organization
               agreeing to supervise such person;

               (b) place restrictions on the travel, association or place of abode of the
               person during the period of release;

               (c) impose any other condition deemed reasonably necessary to assure
               appearance as required, including a condition requiring that the person
               return to custody during specified hours;

               (d) place the person under a house arrest program pursuant to K.S.A. 2022
               Supp. 21-6609, and amendments thereto; or

               (e) place the person under the supervision of a court services officer
               responsible for monitoring the person’s compliance with any conditions of
               release ordered by the magistrate.

K.S.A. 22-2802(1).

               b.     Post-conviction confinement and conditions of release

        Kansas statutes provides a number of sentencing options post-conviction that include the

following:

        a.     a “community correctional services program” that assigns the defendant for

               supervision, confinement, detention, care or treatment, subject to conditions

               imposed by the court and the defendant remains subject to the continuing

               jurisdiction of the court. K.S.A. 21-6603(b).

        b.     confinement to a “correctional institution” under control of the secretary of

               corrections. K.S.A. 21-6603(c).

        c.     confinement to “house arrest” that restricts the inmate within the community, home

               or noninstitutional residential placement and specific sanctions are imposed and

               enforced. K.S.A. 21-6603(d).

        d.     release on “parole” whereby a prisoner is released from a correctional institution to



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               the community prior to the expiration the prisoner’s sentence, subject to conditions

               imposed by the prisoner review board and to supervision by the secretary of

               correction. Parole also means the release by a court of competent jurisdiction of a

               person confined in the county jail or other local place of detention after conviction

               and prior to expiration of such person’s sentence, subject to conditions imposed by

               the court and its supervision. K.S.A. 21-6603(e).

        e.     “postrelease supervision” is provided for persons convicted of crimes committed

               on or after July 1, 1993, and is release of a prisoner to the community after having

               served a period of imprisonment, subject to conditions imposed by the prisoner

               review board and to supervision by the secretary of correction. K.S.A. 21-6603(d)

               and K.S.A. 21-6803(p).

        f.     “probation”, a procedure under by which convicted person is released by the court

               after imposition of sentence, without imprisonment or after a term of imprisonment

               in felony cases, subject to conditions imposed by the court and subject to the

               supervision of the probation service of the court or community corrections.

        g.     “suspension of sentence” is a procedure under which a defendant, convicted of a

               crime, is released by the court without imposition of sentence. The release may be

               with or without supervision in the discretion of the court. In felony cases, the court

               may include confinement in a county jail not to exceed 60 days, which need not be

               served consecutively, as a condition of suspension of sentence pursuant to

               subsection (b)(4) of K.S.A. 21-6702, and amendments thereto.

        Inclusion on the gang list alone is insufficient for enhanced penalties on conviction. Under

the Kansas Sentencing Guidelines, if it is shown at sentencing that the offender committed any




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felony violation for the benefit of, at the direction of, or in association with any criminal street

gang, with the specific intent to promote, further or assist in any criminal conduct by gang

members, the sentence shall be presumed imprisonment. K.S.A. 21-6804(k). The sentencing court

may impose an optional nonprison sentence and such nonprison sentence is not considered a

departure and is not subject to appeal. Id. The presumptive imprisonment requires proof of specific

intent. Id.

        Any conditions or restrictions of imprisonment, release, probation, or parole etc. are

conditions imposed by the court, the secretary of corrections, or prisoner review board. The City

and the WPD do not impose conditions or restrictions for persons subject to pretrial release or

subject to conviction and sentence. The conditions and restrictions imposed by the court, the

secretary of corrections, or prisoner review board are not conditions because of the WPD gang list

and are imposed only in a manner in which the defendant is afforded due process.

               c.      The gang list does not cause reputational harm because it is not shared
                       publicly.

        The final harm plaintiffs attempt to demonstrate is that to their reputation. Plaintiffs claim

reputational harm through denials of employment, lost scholarship opportunities, and being

reported in the Wichita Eagle as a “known gang member” are attributed to the WPD’s adding their

name in a database. The claims are unsupported by the record. A discussed above, this alleged

injury again fails the second prong to demonstrate standing: The reputational harms suffered by

Plaintiffs are not traceable to their inclusion on the Gang List or in the Gang Database.

        5.     A favorable decision by this Court does not resolve Plaintiffs’ concerns.

        Plaintiffs cannot meet the third prong to demonstrate standing. Plaintiffs request a

declaration that K.S.A. 21-6313 through K.S.A. 21-6316 are unconstitutional and seek to

dismantle WPD’s Gang List. Pretrial Order, at 44-45. Even if that were to occur, the result remains



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the same—each person arrested and charged is subject to prosecution for a crime, imposition of

bail, conditions of pretrial release and, if convicted, sentencing and conditions of confinement or

post-convention supervision. Gang membership and gang activity remain factors that the court can

and will consider at each step of the criminal justice process. None of the relief requested prevents

the presentation of relevant information and evidence during a criminal proceeding. The relief

requested does not prevent a local newspaper from reporting an individual is a known gang

member, or employers from running a background check and denying employment based on

criminal history (note that criminal history does include gang membership), nor does it prevent a

state university from pulling a scholarship when an individual is a convicted criminal. Because a

favorable judicial decision in this case will not redress the harms Plaintiffs allege, Plaintiff lack

standing.

B.      Due process claim—Vagueness (Count I). Neither WPD Policy 527 nor K.S.A.
        21-6313 are void for vagueness, facially or as applied.

        Neither, Policy 527 nor K.S.A. 21-6313 prohibit any conduct and do not impinge on First

Amendment freedoms. Inherent to the definition of a criminal street gang (and, thus, a criminal

street gang member or associate) is an organization, association or group with a primary activity

of committing person crimes or felony drug crimes. K.S.A. 21-6313, K.S.A. 21-6314, K.S.A. 21-

6315, and K.S.A. 21-6316 do not reach a substantial amount of constitutionally protected conduct,

are not impermissibly vague in all of their applications, and do not authorize or encourage arbitrary

and discriminatory enforcement. People of ordinary intelligence can understand the conduct

prohibited by K.S.A. 21-6314 and K.S.A. 21-6315. As applied, objective evidence supported the

identification of Plaintiffs as criminal street gang members or associates. For the instances in which

any Plaintiff was subject to bail and conditions of release—the bail and conditions were imposed

by a court accompanied by the due process rights afforded by the code of criminal procedure.



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        A statute may be challenged as vague in two ways; First, a plaintiff may challenge the

statute as vague as applied to his particular circumstances, See Galbreath v. City of Oklahoma

City, 568 Fed.Appx. 534, 539 (10th Cir. 2014), or second, a plaintiff may make a facially vague

challenge. See Dr. John’s, Inc. v. City of Roy, 465 F.3d 1150, 1157 (10th Cir. 2006).

        Neither WPD Policy 527 nor K.S.A. 21-6313 prohibit or penalize conduct, neither does

the policy nor the statute create a deprivation of plaintiffs’ rights. This Court has previously

declared, whether or not a statute labeled penal, it must “meet the challenge that it is

constitutionally vague.” Citing Giaccio v. Pennsylvania, 382 U.S. 399, 402 (1966). ECF 28, at 22.

Giaccio is easily distinguished and does not control here. In Giaccio, the Court struck a civil law

that allowed a jury to assess costs to a criminal defendant even if acquitted as violating due process

because it was so vague and standardless. “A statute must provide reasonably precise standards so

that judges or juries are not left to decide arbitrarily what is prohibited and what is not in each

particular case. Id, at 403. “Vagueness challenges, however, are greeted with a strong presumption

in favor of the statute’s validity.” See Schrag v. Dinges, 788 F. Supp. 1543, 1553 (D. Kan. 1992)

(citing United States v. National Dairy Prods. Corp., 372 U.S. 29, 32 (1963)). Here, WPD policy

527 and K.S.A. 21-6313 do not proscribe any conduct or impose any penalty. Combined they

clearly state that if you engage in criminal activity and meet the criteria in K.S.A. 21-6313(b) or

(c) you could be identified as a criminal street gang member or associate. Plaintiffs focus on

attacking the enumerated criteria as vague but ignore the context, plain language, and standards

within the statute. Furthermore, the policy and statute do not prohibit any conduct by Plaintiffs.

Plaintiffs claim they fear being listed or continued on the gang list. But inclusion on the list or in

the database is not a cognizable injury.

        1.     Neither K.S.A. 21-6313 nor WPD Policy 527 are facially void for vagueness.

        Plaintiffs appear to make a facial challenge to WPD’s policy 527 and K.S.A. 21-6313


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alleging numerous terms are vague and overbroad as applied to the Wichita Community. Pretrial

Order ECF 196, at 13. However, such claims are “strong medicine” and require the plaintiff to

show “the challenged law would be vague in the vast majority of its applications.” Dr. John’s, Inc.

v. City of Roy, 465 F.3d 1150, 1157 (10th Cir. 2006) (citations omitted).

        K.S.A. 21-6313 has a limited application to the general public and is directed solely at

identifying those in the community engaged in “criminal street gang” activity. Plaintiffs allege the

policy and statute can be applied with impunity to innocent members of the community that may

be members of a fraternity, or family members or people displaying certain clothing or tattoos.

This is inconsistent with the statute, with Policy 527, and with the WPD practices under both. To

be considered for inclusion on the gang list, there must first be a criminal street gang, then the

person must first be associated with a criminal street gang. Context matters and colors alone,

location alone, and incidental contact/association does not result in a person being added to the

gang list. Plaintiffs’ claims and contentions untether the statute from the text, which requires a

criminal street gang (a group of persons whose purpose includes the commission of person felonies

and misdemeanors and felony drug crimes.

        Persons are added to the Gang Database in the first instance either (1) through research and

contacts by gang intelligence officers or (2) (a) by nomination for inclusion on the database by

non-gang officers followed by (b) review and verification by Gang Intelligence Officers that the

subject meets the criteria for inclusion on the Master Gang List. Exhibit 16, Bartel dep., 127:16-

128:15. WPD Policy 527 incorporates by the definitions and criteria in K.S.A. 21-6313. Policy

527, § I.E.1 (“Initial identification will be based upon the aforementioned Criminal Street Gang

Member or Associate Criteria found in K.S.A. 21-6313.”)

        Any state, county, or city law enforcement officer or correctional officer may nominate a




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person for inclusion on the gang list. Only gang intelligence officers can add individuals to the

Gang Database. Gang Intelligence Officers within the Gang Unit evaluate nominations to the Gang

Database with reference to the criteria set forth in K.S.A. 21-6313 and WPD Policy 527. If the

Gang Intelligence Officer determines that a person meets the criteria and should be added to the

Gang Database, that Officer will create a Gang Database entry identifying the person as either a

criminal street gang member or a criminal street gang associate. Gang Intelligence Officers are the

ones solely responsible for maintaining the Gang Database.

        All WPD officers undergo gang-related training: four hours in the academy and two

additional hours annually. While any officer can nominate someone, the Gang Database is

administered only by Gang Intelligence Officers, no other WPD personnel can add a person to the

Gang Database, inactivate a person in the Gang Database, or remove a person from the Gang

Database. Exhibit 6, Bernard Declaration. Additions to the database, or Master Gang List, is done

only by Gang Intelligence Officers who use their training and experience and apply statutory

criteria to vetted persons nominated for inclusion. Gang Intelligence Officers lean to being

underinclusive rather than overinclusive. The definition of a street gang member necessarily

includes criminal activity. K.S.A. 21-6313(a); See Policy 527 § 1.B.1 (“The information will be

researched by a member of the Gang/Felony Assault Section or VCCRT. … . The individual will

be added to the Master Gang List if they meet the criteria defined in K.S.A. 21-6313.”).

        Determinations by Gang Intelligence Officers for inclusion in the database depend on the

totality of circumstances, officer’s knowledge, and experience. Disparate application of the criteria

is avoided by training the officers and the context of information used. The officers are trained to

be familiar with gang-specific information, such as hand signs. The reviewing officer looks at the

information with skepticism to ensure there is a very specific reason for inclusion. The Courts have




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recognized Gang Intelligence Officers as experts in the area of gangs and allow them to testify as

such in criminal trials.

        To evaluate criteria such as frequenting street gang’s area, adoption of a gang’s style of

dress, color, hand signs or tattoos, and associating with known criminal street gang members, Gang

Intelligence Officers use their training, experience, and knowledge of the neighborhoods to make

the determinations for inclusion in the Master Gang List. Exhibit 10, Inkelaar dep., 116:13-24.

Gang Intelligence Officers converse with each other and discuss individual situations to make

determinations based on their training and experience. Exhibit 17, Gilmore dep., 150:20-151:9.

Incidental contact is insufficient― associating with known gang members requires conduct

indicative of joining or connection based on gang affiliation. Exhibit 6, Bernard Declaration. Also,

immediate family members are exempted and not employed as a criterion of associating with

known gang members. Doc. Exhibit 8, Beard dep., 249:10-14, Doc.186-21, Declaration of J

Bernard.

        Application of the individual criteria are understandable by people of ordinary intelligence

and do not foster arbitrary or discriminatory enforcement. Individuals are not added on a whim or

without proper vetting. There is evidence to the contrary.

        K.S.A. 21-6313(b)(2)(D) – “frequents a particular criminal street gang’s area” - The WPD

does not maintain a map identifying specific gang areas. There are known areas where gang

members hang out and engage in criminal activity, but where gangs congregate changes over time,

and people relocate. Experience and training inform officers’ knowledge of current areas of gang

activity. Gang Intelligence Officers are knowledgeable of current gang activities and designate

gang areas based on gang activity, including gang-related crime, violence, and drug activity. Gang

Intelligence Officers use their training, experience, and knowledge of the neighborhoods to make




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the determinations for inclusion in the database. Additionally, mapping is used to track gang

crimes and helps determine where resources are needed to support grant writing for additional

social services and displacement.

        K.S.A. 21-6313(b)(1), “Admits to criminal street gang membership” – Self-admission is a

common method by which gang members and associates are identified. Exhibit 16, Bartel dep.,

136:18-137:5; Doc. Exhibit 8, Beard dep. 31:18-33:7, 56:2-3, 56:19-21; Exhibit 17, Gilmore dep.,

44:7-44:16; Exhibit 9, Hemmert dep., 42:19-43:22. Some individuals self-admit because they are

proud to be a gang member. Exhibit 16, Bartel dep., 130:12-23. A lot of individuals are

comfortable confirming their membership and do not try to hide it: “it’s almost written on a shirt.”

Exhibit 18, Thatcher dep., 98:11-17.

        Even self-admits are verified by gang intelligence officers through watching the reporting

officers’ AXON video. Gang Intelligence Officers confirm hearing the person self-admit before

adding them to the Master Gang List. A social media post alone does not suffice.

        K.S.A. 21-6313(b)(2)(B) “documented reliable informant” – People of ordinary

intelligence can understand what a reliable informant is and understand what it means to document

a reliable informant. WPD Officers are trained to understand the distinctions between a reliable

informant and an informant of untested reliability. Officers also understand the information must

be documented.

        K.S.A. 21-6313(b)(2)(D) – “frequents a particular criminal street gang’s area” - The WPD

does not maintain a map identifying specific gang areas. There are known areas where gang

members hang out and engage in criminal activity, but where gangs congregate changes over time,

and people relocate. Experience and training inform officers’ knowledge of current areas of gang

activity. Gang Intelligence Officers are knowledgeable of current gang activities and designate




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gang areas based on gang activity, including gang-related crime, violence, and drug activity. Gang

Intelligence Officers use their training, experience, and knowledge of the neighborhoods to make

the determinations for inclusion in the database. Additionally, mapping is used to track gang

crimes and helps determine where resources are needed to support grant writing for additional

social services and displacement.

        K.S.A. 21-6313(b)(2)(E) – “adopts such gang’s style of dress, color, use of hand signs or

tattoos”- Identification based on dress utilizes multiple factors at the same time: colors, specific

sports teams, and how the attire is worn. Trained officers know what to look for and follow up

with questions to verify gang identification based on their observations. There is a continuity of

training for Gang Intelligence Officers to safeguard against variation in interpretations. The dress

is, like all criteria, viewed in context.

        K.S.A. 21-6313(b)(2)(F) - “associates with known criminal street gang members”- To

associate with someone is interpreted in its common usage. Associate is commonly defined to

mean “to join as a partner, friend, or companion,” “to join or connect together,” or “to bring

together or into relationship in any of various intangible ways.” Merriam-Webster. (n.d.).

Associate. In Merriam-Webster.com dictionary. Retrieved September 29, 2023, from

https://www.merriam-webster.com/dictionary/associate. Inclusion in the database is not based

solely of an officer’s nomination, the Gang Intelligence Officers conduct additional research

before adding the individual to the database.

        2.      Neither WPD Policy 527 nor K.S.A. 21-6313 are void for vagueness as applied.

        For an as-applied vagueness challenge, the analysis must be tethered to the factual context

in which the ordinance was applied. United States v. Franklin-El, 554 F.3d 903, 910 (10th Cir.

2009) (“Because this is an as-applied challenge, we consider this statute in light of the charged

conduct.”). The “charged” conduct is not an offense, does not involve an arrest, charges or a


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conviction. Rather, the conduct is identification as a gang member or associate and inclusion in

the database.

        For the same reason each plaintiff fails to prove evidence of harm for Article III standing,

they also fail to prove evidence of vagueness as applied to each plaintiff.

                a.     Christopher Cooper

        Plaintiff Christopher Cooper provides no admissible evidence to support his claim of harms

resulting from inclusion on the WPD’s gang database. Cooper alleges he “suffered continuous

harassment” for “minor traffic violations,” ECF 196, at 31, Response to ROG 10, resulting in him

having to drive family members’ cars to avoid being pulled over. ECF 196, at 31. But Cooper did

not drive a car registered in his name before his arrest for first degree murder, Exhibit 20, Cooper

dep, 55:16-56:6, and he does not recall if he was pulled over following his arrest and jail time in

2017. Exhibit 20, Cooper dep, 43:25-44:11. Cooper recalls being pulled over by law enforcement

maybe two times when he was in high school and a few times after graduating high school for a

total of 5-6 times. Exhibit 20, Cooper dep, 43:7:24. He consented to a search request when he was

pulled over, Exhibit 20, Cooper dep, 70:24-71:2, and admits the WPD had a reason to pull him

over for the traffic stops, so he didn’t file a complaint with the WPD regarding the stops. Exhibit

20, Cooper dep, 44:20-45:9; RFP Response #18.

        Cooper alleges he’s “been denied employment of his choice because of Defendants’

sharing of the Gang List with other entities.” ECF 196, at 31, ROG Response 11. Cooper is,

however, employed. ROG Response #6. The restriction of his position occur because of his

probation conditions, such as limiting his participation in public events such as the Wichita

Riverfest. Exhibit 20, Cooper dep, 69:13-70:6. Cooper doesn’t believe the gang list denied him

job opportunities; he testified he assumes all employers run background checks and would see his

criminal history. Exhibit 20, Cooper dep, 49:21-52:24. And he recognizes his inability to attend


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certain community events are due to his probation conditions, not inclusion on the gang list. Exhibit

20, Cooper dep, 74:14-75:16. Further, Plaintiffs can provide no instance of the WPD sharing

information from the gang list with entities outside of other law enforcement agencies that could

have impacted Cooper’s employment opportunities. “Damage to prospective employment

opportunities is too intangible to constitute deprivation of a liberty interest.” See Jensen v.

Redevelopment Agency of Sandy City, 998 F.2d 1550, 1559 (10th Cir. 1993) (citing Phelps v.

Wichita Eagle-Beacon, 886 F.2d 1262, 1269(10th Cir. 1989).

        Plaintiffs contend Cooper was preparing to transfer to K-State (Kansas State University)

and he lost a scholarship because of his inclusion on the gang list. ECF 196 Page 29. In fact, Cooper

never applied to K-State, he was never offered a scholarship, and he is banned from living on

campus because of his felon status. Exhibit 20, Cooper dep, 76:16-24; 37:2-38:16; 64:2-65:8.

Cooper did attend Highland Community College with a scholarship to play football and a U.S.

Army scholarship. Exhibit 20, Cooper dep, 36:19-37:1. But he was never on the track team for

Highland Community College, Exhibit 20, Cooper dep, 35:9-16, and could not complete the first

football season playing football for Highland because of an injury. Exhibit 20, Cooper dep, 33:24-

34:25. He lost the U.S. Army scholarship when he went to prison. Exhibit 20, Cooper dep, 66:12-

15. Cooper believes he can never go back to school because of his criminal record as a violent

offender, Exhibit 20, Cooper dep, 70:9-17, and that living off campus requires him to do “too

much.” Exhibit 20, Cooper dep, 64:2-65:8. Cooper’s decision not to pursue an education is his

own choice, not the fault of the WPD and its gang database. Any harm suffered is not a result of

the Defendants’ intelligence gathering or application of WPD policy 527 or K.S.A. 21-6313.

        Cooper’s assumes his bail was set at $50,000 as a result of being listed in the Gang

Database. ECF 196 Page 30. However, he was charged with first degree murder of Juan Orona.




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Exhibit 20, Cooper dep, 20:9-16, and went to jail following arrest in 2017. Exhibit 20, Cooper dep,

62:7-12. Cooper understands his bail was set by a judge, Exhibit 20, Cooper dep, 41:4-11.

Similarly, the Complaint alleges Cooper’s “strict probation” conditions were the result of being on

the gang list, forcing him to move away from his family because they, too, were documented gang

members. ECF 196 Page 30, ROG Response 10. Yet Cooper understands the conditions of his

probation were determined by a judge, Exhibit 20, Cooper dep, 41:16-42:6, and monitored by a

community corrections officer. Exhibit 20, Cooper dep, 42:7-9. While the conditions did prohibit

Cooper from associating with other gang members, Cooper assumed himself that this included his

family members who were also documented gang members, Exhibit 20, Cooper dep, 52:25-53:14.

He further understood a probation condition prevented him from associating with other convicted

felons, Exhibit 20, Cooper dep, 54-13:15, and the family members Cooper alleges he was unable

to associate with were convicted felons. Exhibit 20, Cooper dep, 54:8:12. Cooper also recognizes

his inability to attend certain community events were due to his probation conditions, not inclusion

on the gang list. Exhibit 20, Cooper dep, 74:14-75:16.

        Cooper provides no documentation, statements, communications, recordings, photographs,

notes, journals, blogs, emails, tax records, to support the claims made in the Complaint. Cooper’s

Response to RFP ##1, 2, 3, 4, 5, 6, 7, 8, 12, 17, 18 and 19. Plaintiff Cooper cannot provide any

admissible evidence to demonstrate the Gang Database or Gang List caused him a particularized

harm.

                b.      Jeremy Levy, Jr.

        Plaintiff Jeremy Levy, Jr., is currently incarcerated for murder in the first degree, ECF 196

Page 29, and is serving a sentence of 25 years to life. Exhibit 23, Levy dep., 17:23-18:9.

        Levy claims prior to his incarceration he was denied employment and harassed by police

and restricted in his ability to wear certain colors, patronize certain businesses, and freely associate


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and socialize with others. ECF 196 Page 28. Consistent with the other Plaintiffs, Mr. Levy can

provide no evidence or documentation of the allegations made on his behalf.

        Levy admits to being charged as a juvenile with burglary and pleading to what he thought

was misdemeanor and being placed in an “out-of-home boys’ placement.” Exhibit 23, Levy dep.,

28:17-30-6. Levy claims that he was stopped by police at a QuickTrip when he was thirteen years

old and told he could not go to certain QuickTrips or Towne East Mall or wear certain colors.

Exhibit 23, Levy dep., 32:6-32:22. Levy believes he was on the gang file because ‘police’ told him

he could not go to these places. Exhibit 23, Levy dep., 32:6-23.

        Levy further claims he was denied employment, however, Levy assumed he did not get a

job at “Lids” because he was on the gang list. But does not know why he did not get the job.

Exhibit 23, Levy dep., 32:24-35:4. After being convicted as a juvenile, Levy claims he was told

he could not apply for a job working in a hospital and be a gang member but cannot remember the

name of the company, anyone he spoke to or if the employer did background checks. Exhibit 23,

Levy dep., 35:5-36:20:

        Levy was arrested and tried for first-degree murder. He alleges because of his inclusion on

the gang list prosecutors in his murder trial were allowed to introduce his alleged gang status at

trial and discuss gang incidents and evidence of a gang feud. Nothing in the law allows

membership on a gang list to be admitted in court and presented to a jury as evidence of guilt.

Levy admits his trial attorney challenged the gang affiliation testimony both pretrial and during

trial. Exhibit 23, Levy dep., 25:23-26:13. Levy also contested his conviction and the use of gang

testimony on appeal. See State of Kansas v. Jeremy D. Levy, 485 P.3d 605 (2021). The Kansas

Supreme Court found that “[t]he district court did not err when it held Detective Hemmert’s gang

testimony was relevant. There was significant evidence “that gang membership or activity [was]




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related to the crime charged.” Id. at 239 (citation omitted). Further the Supreme Court ruled the

evidence wasnot unduly prejudicial. Id at 240. Levy admits his inclusion on the gang list did not

increase his sentence. Exhibit 23, Levy dep., 40:9-15.

        Finally, Levy complains that he could be subject to “extremely harsh gang conditions while

on parole.” ECF 196 Page 29. Levy admits he does not know what his conditions of release on

parole will be or if they will be different than anyone else’s. Exhibit 23, Levy dep., 40:17-24.

               c.      Elbert Costello

        Elbert Costello was unaware he was included in the gang list until after he was arrested

and convicted of manslaughter in Saline County, Kansas in 1997 and incarcerated. ECF 196 Page

25. Upon his conviction he was sentenced to 51 months in the Kansas Department of Corrections

(KDOC). Exhibit 33, E. Costello Dep Exhibit 63. Costello was informed by his intake counselor

that the prison assigns points based on the crime committed to determine the classification status,

but he doesn’t remember if he had to answer any questions related to gang affiliation when he was

first brought into custody. Exhibit 33, E. Costello Dep., 20:24 -21:21. There is no evidence

presented by E. Costello that WPD shared any information about him with the court’s or

prosecutors in Saline County or with KDOC. In fact, it was the Salina Police Department that

informed WPD that E. Costello was a suspected gang member causing him to be listed as a gang

associate in the WPD Gang List. Affidavit of C. Cason ¶ 8. There is no evidence WPD supplied

any information about E. Costello to KDOC.

        E. Costello further complains he was subject to ‘highly restrictive and untenable probation

conditions” upon conviction for possession of drug paraphernalia. ECF 196 Page 25. However, E.

Costello testified that since his discharge from post-release in 2003 nobody else put any restrictions

on him. Exhibit 33, E. Costello Dep., 28:6-29:1. Later, E. Costello on cross examination stated he

was on probation for a drug paraphernalia conviction in 2011. Exhibit 33, E. Costello Dep., 26:3-


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9 49:19-50-6. He claims his probation officer threatened to revoke him for wearing a shirt with red

writing on it but did not do so. Exhibit 33, , E. Costello Dep., 47:12-20. An unacted upon threat

by a probation officer cannot be attributed to the WPD. He admits his probation was revoked

several times but can’t recall what for, other than he believed one was for being a gang member.

Exhibit 33, E. Costello Dep., 46:18-47:7. E. Costello admits it is the court that sets his bond and

the court and probation officer that set the conditions of his probation. 50:11-17.

        E. Costello alleges since his release from prison (November 13, 2000) he has been

subjected to ‘increased’ surveillance and experienced an increased number of traffic stops. E.

Costello has presented no evidence to establish how surveillance or traffic stops have increased.

And while he alleges he is “still subject to surveillance and harassment and often has to endure

needless and invasive traffic stops[,]”, he admits that he can’t remember the last time he was

stopped by the police, but it was at least four years ago. Exhibit 33, E. Costello Dep., 23:25 -25:2.

Further, he fails to provide evidence of resulting damage. E. Costello RFP Responses, 5, 12, 14,

15.

        Mr. E. Costello “fears harassment or, worse, additional punishment if he gets together with

others—including family members—for a beer, a barbecue, a family dinner, or a funeral.” ECF

196 Page 26. Yet he concedes these are harms imposed by a judge, not the WPD. Exhibit 33, E.

Costello Dep., 50:11-17. Additionally, there is no evidence to suggest any surveillance under his

post-release status was more or less than any other probationer/parolee who is not a documented

gang member.

        Consistent with the other named Plaintiffs, E. Costello fails to provide a single document,

statements, communications, recordings, photographs, notes, journals, blogs, emails, and tax

records, to support allegations the allegations or claims brought forth on his behalf. E. Costello




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RFP Responses 1, 2, 3, 4. 6, 7, 8 14, 15. Nor is there any evidence to support that damage occurred

as a result. E. Costello RFP Responses 5, 12, 14, 15. And he never attempted to challenge the

designation to the WPD. E. Costello RFP Responses 17, 18, 19.

        E. Costello claims most of the entries in the gang database that cause him to be renewed

are from photos of him socially interacting with others in the gang database. (ECF 196 Page 26)

The half-truth of this statement must be exposed. E. Costello’s socializing with others in the gang

database includes: 9 arrests, being present at three shootings and one shots fired incident. Carson

Declaration ¶ 11.

        Finally, E. Costello complains he was identified as a “known gang member” in a story in

The Wichita Eagle. ECF 196 Page 26. Apparently, a parole officer stated to the reporter that the

alleged perpetrator of the shooting had been seen in January 2021 with Mr. Costello, who was a

“known gang member.” The Wichita Eagle has since revised its article to remove Mr. Costello’s

name, after receiving complaints from Mr. Costello’s friends and family. Complaint, ¶ 139. This

allegation is unrelated to Defendant. It is against WPD policy to disclose information contained in

the gang database, including the Master Gang List of active documented criminal street gang

members and associates. There is no evidence where the parole officer got his information.

               d.     Martel Costello

        Martel Costello claims he has never been a member of a gang. ECF 196 Page 26. However,

he admits he identified himself to Ellsworth Correctional Facility members as a “Pirus” gang

associate. Exhibit 25, M. Costello depo 45:8-46:17 and Exhibit 31, M. Costello Exhibit 87.

        M. Costello was convicted of criminal damage to property in 2012, intimidation of a

witness in 2013, and in 2017 for multiple felonies committed in 2016 and 2017. He did not become

aware that he was listed on the Gang List until his arrest in 2016. He has not attempted to contest

his designation as a criminal street gang member. After his conviction in 2017 he was placed on


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probation by the Court and given conditions of probation by the Court and his probation officer,

not WPD.

        M. Costello claims he had bond set at or over $50,000 at least seven times. ECF 196, at 27.

However, he presents no evidence as to why bond was set in those amounts after being charged

with high level felonies as reflected in his KDOC record.

        M. Costello was renewed on the gang list in 2016 for being in the company of other gang

members, including his father, Plaintiff Elbert Costello. Exhibit 26, Carson Declaration ¶16 c.

However, there is no evidence that M. Costello was ever violated on his pre-trial release, probation,

or post-release supervision for associating with gang members.

        M. Costello reports prior probation violations that resulted in his house arrest. These

violations were because of alcohol and being out past curfew six times. M. Costello claims that he

was subject to invasive searches where his property was destroyed, and possessions thrown on the

floor and officers laid clothes on his bed to resemble the outline of a body. ECF 196, at 27. During

his house arrest period M. Costello’s house was shot at and his cousin Plaintiff Christopher Cooper

was shot, causing officers to search his house eventually locating a handgun. Officers took

photographs of pictures and clothing, including a red shirt, red hat, red pants, and a shirt with a

picture of him and his brother that officers had laid out on a bed. Exhibit 25, M. Costello depo.,

51:16-52:07. Surveillance video obtained from the scene shows M. Costello with a gun in his hand.

Carson Declaration, ¶ 21.k.

        M. Costello complains of harassment by being stopped by policed multiple times a month

between 2014 and 2016. ECF 196 Page 27. The record is clear that M. Costello was engaged in

various criminal activities during this time. Plaintiff does not recall the specific dates of the traffic

stops. He does not know the names of the officers that allegedly harassed him, nor does he recall




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details of each encounter because he was stopped so often and most stops involved multiple

officers. He never filed a complaint or report regarding the WPD’s alleged conduct.

          M. Costello’s probation was revoked by the Court and was sentenced to serve his

underlying sentence. Exhibit 25, M. Costello depo., 39:17-23. He understands that a judge revoked

his probation for being out past curfew, not for associating with other gang members, regardless

of what information he was told by others. Exhibit 25, M. Costello dep., 43:21-45:4. That is

consistent with the Journal Entry of Probation Violation Hearing where it shows he was revoked

for failing to obey the law and four instances of violating curfew. Exhibit 25, M. Costello dep.,

Exhibit 86.

          Finally, M. Costello complains he was concerned by a chance encounter with a WPD

officer while on work release. ECF 196 Page 29. He was not placed under arrest, was not

threatened with arrest, and was not prevented from moving freely by an officer who recognized

him at a convenience store. Exhibit 25, M. Costello dep., 59:14-60:21.

                 e.      Progeny

          Plaintiffs’ contendProgeny has organizational standing to sue for its own injuries, as well

as associational standing to sue on behalf of its members for claims of First Amendment

overbreadth and facial vagueness. ECF 196 Page 22. However, this Court ruled “Progeny has

standing to sue for direct injuries it has allegedly suffered as a result of the Gang List but does not

have standing to sue as an association on behalf of its members.” ECF 28 Page 20. (Emphasis

added).

          Progeny further complains that it has to divert resources away from its other work to

provide assistance and resources to those who are suffering from the consequences of being in the

WPD’s Gang Database. ECF 196 Page 24. Again, this Court has determined that Progeny has no

standing to bring this claim: “Progeny here alleges no more than ordinary expenditures in line with


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its purpose as an organization… Spending resources to assist these individuals remains within the

ordinary purpose of Progeny, and thus such expenditures are ordinary as well. This is not an injury

in fact sufficient to confer standing.” ECF 28, at 17. That brings us to the remaining claims of

Progeny; that it cannot hold meetings in large groups or even one-on-one, hold member events or

use members likeness or stage protests for fear its members could be placed on the gang list.

        Progeny through its 30(b)(6) designee Marquetta Atkins testified that Progeny started

operation in 2015 or 2016. Exhibit 36, Atkins Dep., 9:6-7. Progeny is a juvenile justice initiatives

program of Destination Innovation, Inc. Exhibit 36, Atkins Dep., 9:16-22. Destination Innovation,

Inc did not become a non-profit until 2018. Exhibit 36, Atkins Dep., Progeny did not become a

part of Destination Innovation, Inc. until 2021. Exhibit 36, Atkins Dep., 9-13.

        Progeny works with youth touched by the juvenile justice system to teach them leadership,

how to change policy in a way that it impacts them. Exhibit 36, Atkins Dep., 14:25-15:3. Progeny

visits schools and youth organizations from around the City of Wichita. Exhibit 36, Atkins Dep.,

21:20-22:6. When asked how often this happens, Progeny responded “we’re busy”. Atkin Dep.,

24:2-4. Progeny estimates it is asked to speak to youths or engage other organizations 12 times a

year. Exhibit 36, Atkins Dep., 24:17-22. Progeny went through a building stage where they

engaged about five people in 2016 and 2017. Exhibit 36, Atkins Dep., 25:14-26:14. From that time

until the Pandemic in 2020, Progeny hosted an event in partnership with the City regarding recent

shootings. Exhibit 36, Atkins Dep., 27:9-13.

        Prior to the pandemic Progeny’s events “ebbed and flowed” as they came into contact with

juveniles in trauma. Atkin Dep., 27:21-28:2. Progeny continued to have meetings until the

Pandemic hit in 2020 then started hosting meetings on Zoom. Exhibit 36, Atkins Dep., 28:13-

29:13. In person meetings did not start up again until 2022 when Progeny started hosting hybrid




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meetings on Monday and Thursdays. Progeny started meeting at its new center in 2023. Exhibit

36, Atkins Dep., 29:16-25. Progeny members have meet consistently on Monday and Thursday

throughout 2023 with occasional issues based upon ‘whatever other events are happening.’ Exhibit

36, Atkins Dep., 21:4-9. The Pandemic impacted attendance ‘greatly’. Exhibit 36, Atkins Dep.,

31:11-20. Pre-pandemic attendance at meetings could range from a low of three to a high of 60.

Exhibit 36, Atkins Dep., 32:5-33:4. Post-pandemic attendance at Progeny meetings are about the

same. Exhibit 36, Atkins Dep., 33:5-9. Sixty is typical for an event. Exhibit 36, Atkins Dep., 33:12.

In early 2023 they had a meeting that was standing room only of about 60 people. Exhibit 36,

Atkins Dep., 32:22-33:4.

        Attendance at Progeny’s Monday and Thursday meetings varies between a low of three to

four people and a high of eleven to fifteen and has varied consistently since before the pandemic.

Aktins Dep., 33:15-34:10. Progeny concede attendance at events varies and is inconsistent. Exhibit

36, Atkins Dep., 34:14-17.

        Throughout 2022 and 2023 Progeny testified that it held dozens of events (apart from this

twice-weekly meetings). Exhibit 36, Atkins Dep., 70:1-77:16. Despite claims that Progeny cannot

hold events where some progeny members would be in direct proximity with individuals on the

gang list Progeny refuses to identify any individual this would affect. Aktins Dep., 91:14-92:11.

Progeny fails to identify a single event or program that was cancelled due to this expressed fear.

        Progeny identifies one sign making event to protest the governor that was cancelled due to

a single police car being present outside the event on a public street. Exhibit 36, Atkins Dep.,

92:15-94:24. The officer did not engage with anyone at the event until Progeny told him to leave.

Exhibit 36, Atkins Dep., 95:1-25. Progeny, through Atkins, claims some kids told her they would

not come to the event because of the officer being present outside. Aktins Dep., 94:14-24. Progeny




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testified that the event was cancelled because it did not want “them to engage with the WPD in

any kind of way or be profiled in any kind of way.” Atkin Dep., 94:5-7.

        Progeny further complains that it must talk with protest participants about their connections

to the juvenile legal system in case they are arrested because it could affect their probation and/or

gang status. ECF 196, 24. Nothing here alleges they are prevented from carrying on their activities.

C.      Due process claim—Stigma Plus (Count III). Plaintiffs’ procedural due process claim
        fails because the WPD’s gang list and gang database do not significantly alter a state-
        recognized right.

        By its terms, a cause of action under § 1983 requires both the deprivation of a federal right

and that the defendant acted under color of state law. 42 U.S.C. § 1983;1 Jacobs, Visconsi &

Jacobs, Co. v. City of Lawrence, 927 F.2d 1111, 1115 (10th Cir. 1991). The City does not dispute

that the City’s actions were taken under color of state law. Therefore, plaintiffs must show a

deprivation of a federal right.

        Plaintiffs claim WPD Policy 527 and its maintenance of a gang database violates Plaintiffs’

rights to procedural due process. “Specifically, the WPD’s failure to provide individuals it

designates as criminal gang members and associates with notice of and an opportunity to challenge

such designation violates procedural due process.” Pretrial Order, at 41. Plaintiffs’ claim fails

because the gang database does not significantly change or alter Plaintiffs’ legal status.

        A cognizable liberty interest may be implicated when “a person’s good name, reputation,

honor, or integrity is at stake because of what the government is doing to him,” such that procedural



        1
          Section 1983 provides, in relevant part:
        Every person who, under color of any statute, ordinance, regulation, custom, or
        usage, of any State …, subjects, or causes to be subjected, any citizen of the United
        States or other person within the jurisdiction thereof to the deprivation of any rights,
        privileges, or immunities secured by the Constitution and laws, shall be liable to
        the party injured in an action at law, suit in equity, or other proper proceeding for
        redress … .


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due process is required permitting the person to clear his or her name. Wisconsin v. Constantineau,

400 U.S. 433, 437 (1971) (statute allowing posting of notice in liquor stores prohibiting sales to

specific person implicate liberty interest requiring notice and opportunity to be heard); Gwinn v.

Awmiller, 354 F.3d 1211, 1216 (10th Cir. 2004) (classification of prisoner as sexual offender not

been convicted of sexual offense implicated liberty interests because classification reduced rate

good time credits could accrue); Jensen v. Redevelopment Agency of Sandy City, 998 F.2d 1550,

1558 (10th Cir. 1993) (allegations were sufficient for liberty interest claim on motion to dismiss

but claim failed on summary judgment motion based upon the lack of evidence). This is commonly

known as the stigma plus doctrine. Gwinn, 354 F.3d at 1216.

        “Damage to one’s reputation alone, however, is not enough to implicate due process

protections.” Gwinn, 354 F.3d at 1216 (citing Paul v. Davis, 424 U.S. 693, 701 (1976) (stating that

“reputation alone, apart from some more tangible interests such as employment, is neither ‘liberty’

or ‘property’ by itself sufficient to invoke the procedural protection of the Due Process Clause”)).

“Stigmatization or reputational damage alone, no matter how egregious, is not sufficient to support

a § 1983 cause of action.” McGhee v. Draper, 639 F.2d 639, 643 (10th Cir. 1981).

        [A] plaintiff asserting that the government has violated the Due Process Clause by
        impugning his or her “good name, reputation, honor, or integrity,” Jensen, 998 F.2d
        at 1558, must demonstrate that: (1) the government made a statement about him or
        her that is sufficiently derogatory to injure his or her reputation, that is capable of
        being proved false, and that he or she asserts is false, and (2) the plaintiff
        experienced some governmentally imposed burden that “significantly altered [his
        or] her status as a matter of state law.” Paul, 424 U.S. at 710–11. This is sometimes
        described as the “stigma plus” standard.

Gwinn, 354 F.3d at 1216.

        1.     No Plaintiff acquires any new or altered “legal status” from being identified
               as a gang member or associate.

        The Tenth Circuit recently explained that, in addition to stigma, some change in legal status

is needed to assert a claim under the stigma-plus doctrine. Al-Turki v. Tomsic, 926 F.3d 610, 617


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(10th Cir. 2019). The requisite “change in status must be ‘significant[].’” Id. (alteration in original)

(quoting Paul v. Davis, 424 U.S. at 711). “If the plaintiff establishes that the alleged defamation

would significantly change the plaintiff’s legal status, then the plaintiff is entitled to a name-

clearing hearing to prove the falsity of the defamatory information.” Id. (citing Codd v. Velger,

429 U.S. 624, 627 (1977) (proper remedy is “an opportunity to refute the charge” (internal

quotation marks omitted)); Nixon v. City and Cty. of Denver, 784 F.3d 1364, 1368 (10th Cir. 2015)

(“Once infringement of a liberty interest is established, the [plaintiff] must show that he was not

afforded an adequate name-clearing hearing that comports with the Due Process Clause.”);

          Even if we assume that the inclusion of plaintiffs on the gang list or in the gang database

defamed plaintiff, plaintiffs “still need to satisfy the second sub-element: that plaintiffs” suffered

a ‘governmentally imposed burden that significantly altered his status as a matter of state law.’”

Hinkle v. Beckham Cnty. Bd. of Cnty. Commissioners, 962 F.3d 1204, 1230 (10th Cir. 2020)

(quoting Al-Turki, 926 F.3d at 618) (internal quotation marks and citation omitted).

          The Tenth Circuit has included, as actions sufficient to satisfy the second sub-element,

          a.     Taking away the right to operate a vehicle. Brown v. Montoya, 662 F.3d 1152, 1167
                 (10th Cir. 2011).

          b.     Revoking parole. Id.

          c.     Falsely labeled a person as a sex offender and further required him to register as a
                 sex offender. Gwinn, 354 F.3d at 1224.

A stigma-plus claim requires alteration of a state-recognized right, Al-Turki, 926 F.3d at 618–19,

inclusion of gang membership or association in the database does not alter Plaintiffs’ rights. In Al-

Turki, the Tenth Circuit discussed and analyzed two cases illustrating how the defamation/stigma

claimed by Plaintiffs here fails to meet the requirement for the alteration of a state-recognized

right.

                 Other circuits have similarly required an alteration of a state-recognized


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        right to allege a stigma-plus claim. Two opinions illustrate how the harm suffered
        by the plaintiff must be to an interest protected by state law. In Alston v. City of
        Madison, 853 F.3d 901, 909 (7th Cir. 2017), the plaintiff alleged that his inclusion
        in a program to deter certain repeat violent offenders violated his procedural-due-
        process rights under the stigma-plus doctrine. The Seventh Circuit held that
        although the program subjected the plaintiff to “increased surveillance and
        increased punishment” for probation violations, “neither fact altered [the
        plaintiff’s] legal rights.” 853 F.3d at 910. Rather, law enforcement “just did what
        they always had the authority to do”—closely monitor the plaintiff’s conduct and
        exercise their “discretion to seek punishment at the strong end of the spectrum.” Id.
        at 910.

                In Behrens v. Regier, 422 F.3d 1255, 1256 (11th Cir. 2005), the plaintiff
        alleged that officials from the Florida Department of Children and Families
        erroneously designated him as a verified child abuser and thereby prevented him
        from adopting a second child. The Eleventh Circuit held that the plaintiff failed to
        allege a plus factor giving rise to a procedural-due-process claim because state law
        “provide[d] that the decision to place a child in a prospective home is a
        discretionary one,” and therefore did not confer any adoption right of which the
        plaintiff was deprived. Id. at 1261. The court also rejected the plaintiff’s claim that
        his previous adoption of another child conferred a “protectable legal status” upon
        him, as the State had the discretion to reexamine an applicant’s qualifications for
        each prospective adoption. Id. at 1262–63.

Al-Turki, 926 F.3d at 618–19. In Alston v. City of Madison, to address the disproportionate

percentage of crime caused by repeat violent offenders, the Madison police department created a

special unit and program. Prominent in the program was increased surveillance of repeat violent

offenders to deter criminal conduct and, for persons identified as repeat violent offenders who

continued to reoffend, the department pursued strict enforcement and punishment to the greatest

extent possible. Program detectives coordinated with other agencies seeking help implementing

the program and particularly encouraged the probation-revocation hearing examiners to revoke the

probation of persons identified as repeat violent offenders who violated their probation terms. 853

F.3d at 904–05. Alston sued, claiming an equal protection violation based on race and also

claiming his identification as a repeat violent offender deprived him of liberty without due process

of law. Alston argued the identification was stigmatizing which subjected him to increased

surveillance, penalties, and reporting requirements. The Seventh Circuit rejected both the equal


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protection and due process claims. As to the stigma plus due process claim, the Seventh Circuit

said:

                 Alston can prove the “stigma” portion of the stigma-plus test. The focused
         deterrence program’s entire purpose was to monitor repeat violent offenders.
         Anyone selected for the program carried that brand. Without question, being
         classified as a “repeat violent offender” harms one’s reputation.

                 But Alston can get no further because he has not shown that being selected
         for the program altered a previously recognized legal status or right.

853 F.3d at 909. The Alston Court noted that a probationer’s liberty interest is necessarily limited

by special probation conditions. Id. (citing Griffin v. Wisconsin, 483 U.S. 868, 874 (1987)). Being

required to comply with conditions of probation—even if the condition is imposed because Alston

was identified as a repeat violent offender—was not a sufficient reduction in Alston’s liberty to

require due process. Id., at 909-10.

                 Nor did the police department or investigations unit implement the program
         in a way that altered Alston’s previously recognized legal status or rights. The
         defendants do not dispute that program members were subjected to increased
         surveillance and increased punishment. Indeed, that was the program’s entire
         purpose. But neither fact altered Alston’s legal rights. Alston has provided no
         evidence that being included in the program authorized the investigations unit to
         conduct its surveillance in a way that violated his preexisting rights. The detectives
         just did what they always had the authority to do: closely monitor Alston’s conduct.
         Likewise, the increased penalties that the police department wanted enforced
         against program members were penalties already authorized by law. Alston was not
         threatened with new or increased sentencing ranges. The department always had
         the discretion to seek punishment at the strong end of the spectrum. Bryn Mawr
         Care, Inc. v. Sebelius, 749 F.3d 592, 602–03 (7th Cir. 2014). It simply chose to
         exercise that discretion within the scope of the program.

Id., at 910 (7th Cir. 2017).

         Plaintiffs point to WPD’s gang database and the policy and practice of including

documentation of whether a person arrested is a “known gang member” or “known gang associate”

in arrest affidavits. Plaintiffs contend this “inform[s] other criminal justice system personnel of the

WPD’s assessment” of gang membership or association “which triggers additional scrutiny and



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punishment by the courts, parole/probation, and more.” Pretrial Order, 18. Plaintiffs also contend

that “increased surveillance and engagement increases the chances of individuals in the Gang

Database of interacting with the criminal justice system,” id., at 19, and that such being “under

constant surveillance, and their everyday activities could subject them to renewed inclusion on the

Master Gang List.” Id., at 20. Plaintiffs also point to persons identified as gang members or

associates may be subject to:

        a.     bail or bond of $50,000 under K.S.A. 21-6316,

        b.     “enhanced” prison conditions,

        c.     “stricter” conditions of pretrial release, probation and/or parole,

        d.     being monitored by WPD for violations of conditions of pretrial release, probation
               and/or parole with the goal have returning the person to confinement without regard
               to whether the violation was gang-related.

Pretrial Order, 19-20.

        None of the “impacts” or “harms” identified by Plaintiffs constitute a governmentally

imposed burden that significantly altered his status as a matter of state law. WPD’s identification

of Plaintiffs or others as gang members or associates does not significantly alter their status as a

matter of state law and does not violate their preexisting rights:

        a.     Persons who have no law enforcement or criminal justice encounters (i.e., are not

               stopped, not arrested, not charged) are unaffected by being identified as a gang

               member or associate.

        b.     All persons are subject to lawful surveillance by law enforcement officers without

               regard to whether the person is identified as a gang member or associate.

        c.     All persons are subject to being stopped based on reasonable suspicion or probable

               cause to believe the person has or is committing an offense or infraction without

               regard to whether the person is identified as a gang member or associate.


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        d.     Persons arrested for a crime are to be presented to a magistrate and are entitled to

               reasonable bail for non-capital offenses (see Kan. Const. Bill of Rights, § 9 and

               State v. Cuchy, 270 Kan. 763, 19 P.3d 152 (2001)) based on an individualized

               determination by a magistrate who “shall fix the terms and conditions of the

               appearance bond upon which the defendant may be released.” K.S.A. 22-2901(3).

               These rights and procedures apply without regard to whether the defendant is

               identified as a gang member or associate.

        e.     Persons violating conditions of pretrial release are subject to having the release

               revoked or the conditions of release modified without regard to whether the person

               is identified as a gang member or associate.

        f.     Convicted persons are subject to sentence—to confinement or post-conviction

               supervision without regard to whether the person is identified as a gang member or

               associate.

        g.     Persons violating conditions of post-conviction supervision (whether community

               corrections, parole, probation, postrelease supervision, etc.) may have their parole

               or probation revoked or the conditions of release modified without regard to

               whether the person is identified as a gang member or associate.

        h.     Convicted persons who are confined to jail or a correctional facility are subject to

               conditions imposed by the court or the secretary of corrections without regard to

               whether the person is identified as a gang member or associate.

        A “moving party is entitled to summary judgment as a matter of law where ‘the nonmoving

party has failed to make a sufficient showing on an essential element of [the party’s] case with

respect to which [the party] has the burden of proof.’” Jensen v. Redevelopment Agency of Sandy




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City, 998 F.2d 1550, 1559 (10th Cir. 1993) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 323,

(1986). There is no evidence that identification in the gang database alters any person’s legal status.

In sum, no Plaintiff acquired any “legal status” from being identified as a gang member or

associate. Thus, Plaintiffs fail to state a stigma plus claim.

        2.      Disclosure of documentation of gang membership or association in an arrest
                affidavit does not deprive a person of a liberty interest without due process.
                The process afforded by the criminal justice system is the requisite due
                process.

        The disclosure, or “publication” of documentation of gang membership or association in

an arrest affidavit is accompanied by a procedure for a hearing for the arrestee—i.e., is

accompanied by due process.

        WPD Policy 527 requires WPD personnel, when arresting an individual for a person
        felony, to ascertain and document in the arrest affidavit whether that individual is
        designated as a criminal street gang member or associate in the Gang Database—even
        when the alleged crime is not gang-related.

WPD Policy 527 provides that “If a criminal street gang member is arrested for a person felony”

the arresting officer will determine if the arrestee is documented as a criminal street gang member

or associate and, if so, the arrest affidavit will include a statement the arrestee is documented as a

criminal street gang member or associate as defined in K.S.A. 21-6313. Plaintiffs contend this

disclosure by WPD personnel of the documentation to other criminal justice system personnel

triggers additional scrutiny and punishment by the courts, parole/probation, and more.” Pretrial

Order, at 18.

        K.S.A. 21-6316 provides:

        When a criminal street gang member is arrested for a person felony, bail shall be at
        least $50,000 cash or surety, and such person shall not be released upon the person’s
        own recognizance pursuant to K.S.A. 22-2802, and amendments thereto, unless the
        court determines on the record that the defendant is not likely to reoffend, an
        appropriate intensive pre-trial supervision program is available and the defendant
        agrees to comply with the mandate of such pre-trial supervision.



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(Emphasis added.) The text of the statute acknowledges the constitutional right to bail and the

requirement that the court make an individualized determination of the propriety of whether to

impose a bond, the amount of that bond, and the risks posed by the pretrial release of the detainee.

        Conditions of release for a person convicted and awaiting sentencing and/or who is

appealing a conviction are governed by K.S.A. 22-2804(1):

        A person who has been convicted of a crime and is either awaiting sentence or has
        filed a notice of appeal may be released by the district court under the conditions
        provided in K.S.A. 22-2802, and amendments thereto, if the court or judge finds
        that the conditions of release will reasonably assure that the person will not flee or
        pose a danger to any other person or to the community.

        The disclosure by the WPD that an individual is documented as a gang member or associate

does not equate to imposition of bond in any amount. Rather, the disclosure alerts the court, the

prosecutor and the defendant that the WPD possesses evidence of gang affiliation and stands ready

to offer that evidence for consideration by the court when making a bail/bond determination.

D.      Plaintiff’s rights of association and expression are not violated by Policy 529 or K.S.A.
        21-6313.

        1.     Violation of First Amendment Right of Association and Expression— Direct
               Prohibition (Count VI) and Chilling Effect (Count VII).

        All Plaintiffs allege violation of the First Amendment right of Association and Expression.2

Plaintiffs claim the City’s policy and practice of maintaining a Gang Database violates the freedom

of association and expression “by prohibiting certain constitutionally protected expressive and

associative behaviors.” Pretrial Order, 41-42. Plaintiff claim

        designation of individuals as gang members and associates … based on their

        2
       The Pretrial order notes:
      The individual plaintiffs bring all of these claims. As an organization, Progeny
      brings only the claims on behalf of its members asserting that § 21-6313 and WPD
      Policy 527 are overbroad and unconstitutionally vague (Count I), and that they
      violate Progeny’s First Amendment rights of association and expression (Count
      VI).
ECF 196, at 41 n. 3.


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        contact with others in their own families, neighborhoods, religious, political and
        social groups, as well as designation based on clothing, gestures, speech, and tattoos
        punishes plaintiffs and others for engaging in activity protected by the First
        Amendment.

Pretrial Order, 42.

               a.      Expression

        Plaintiffs’ conduct is not protected speech. First, Plaintiffs do not base their claim on actual

speech—i.e., written or verbal expression. The extent Plaintiffs’ of the verbal or written expression

involves the inclusion in the database of persons who self-admit to gang membership or

association. Plaintiffs’ instead assert their claim based on conduct such as clothing worn, gestures,

and tattoos.

        A necessary element to transform conduct into protected speech is that the plaintiff had the

“intent to convey a particularized message.” Texas v. Johnson, 491 U.S. 397, 404 (1989) (quoting

Spence v. Washington, 418 U.S. 405, 410–411 (1974)). To determine whether particular conduct

possesses sufficient communicative elements to bring the First Amendment into play the inquiry

is whether there was an intent to convey a particularized message and whether there is a great

likelihood the message would be understood by those who viewed it. Id.

        Plaintiffs are emphatic that the clothes they wear, the tattoos they display, the hand signs

they use and the colors they chose have nothing to do with gang affiliation. This Court already

determined that the free expression claim “though framed under the First Amendment, is actually

a different species of the procedural due process claim.” ECF 28, at 35. Plaintiffs disclaim that

they are engaging in expressive conduct or symbolic speech. Thus, if a Plaintiff is included in the

database, in part, because of clothing, color, gesture, and/or tattoo the claim is the WPD is mistaken

in construing the particular conduct as evidence of gang membership or association. Whether the

Plaintiffs are added to the gang list for expressing like for a particular team or an affinity for a



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particular hand contortion is matter of due process. Here again, Plaintiffs suffer no consequences

of from addition to the gang list. The Plaintiffs First Amendment Rights of Expression have not

been impugned by Policy 527 or K.S.A. 21-6313.

          While persons can be added to the database for self-admitted gang membership, none of

the Plaintiffs were included for that reason nor were any of Progeny’s members.

                  b.     Punishment

          Punish means “to impose a penalty on for a fault, offense, or violation” or “to inflict a

penalty for the commission of (an offense) in retribution or retaliation.” Merriam-Webster. (n.d.).

Punish.      In   Merriam-Webster.com      dictionary.   Retrieved    September     28,   2023,    from

https://www.merriam-webster.com/dictionary/punish. Punishment is “the act of punishing” or “a

penalty inflicted on an offender through judicial procedure.” Merriam-Webster. (n.d.).

Punishment. In Merriam-Webster.com dictionary. Retrieved September 28, 2023, from

https://www.merriam-webster.com/dictionary/punishment. Black’s Law Dictionary defines

punishment as “[a] sanction—such as a fine, penalty, confinement, or loss of property, right, or

privilege — assessed against a person who has violated the law.” PUNISHMENT, Black’s Law

Dictionary (11th ed. 2019).

          Inclusion on the gang list or in the database does not punish Plaintiffs or anyone else nor

is it punishment.

                  c.     Association

          Plaintiffs premise their association claim on the “chilling effect” presented by WPD’s

designation of individuals as gang members and associates on Plaintiffs’ contact/association with

others. Pretrial Order, at 42. Plaintiffs’ claim to be chilled in their contacts or associations for fear

of being labeled or known as an alleged gang member or associate. Id., at 22.

          A chilling effect on the exercise of a plaintiff’s First Amendment rights may amount to a


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judicially cognizable injury in fact, provided it “arise[s] from an objectively justified fear of real

consequences.” D.L.S. v. Utah, 374 F.3d 971, 975 (10th Cir. 2004). “Allegations of a subjective

‘chill’ are not an adequate substitute for a claim of specific present objective harm or a threat of

specific future harm.” Laird v. Tatum, 408 U.S. 1, 13–14 (1972). The “chill” necessary for

prospective relief in First Amendment cases requires that the plaintiff demonstrate “a credible

threat of prosecution or other consequences flowing from the statute’s enforcement.” D.L.S., 374

F.3d at 975.

        Policy 527 and K.S.A. 21-6313 do not criminalize, prohibit, or proscribe any conduct.

Neither prohibits association with family, association with gang members, or association with

anyone or any organization.

        Policy 527 and K.S.A. 21-6313 do not cause, inflict, or permit any form of punishment.

Inclusion on the WPD Gang List does not, in and of itself, carry any criminal penalty nor does it

impose any sentence upon a person convicted of a crime. Being a gang member is not a crime.

Inclusion on the Gang List does not satisfy the element for any criminal offense.

        Policy 527 and K.S.A. 21-6313 do not create a deprivation of life, liberty, or property.

WPD Policy 527, the database, and list maintained thereunder are not governmental action that

deprives a person of a protected interest, whether expression or association. Plaintiffs’ perceived

harms reflect speculation and conjecture and not a credible threat of prosecution or other

consequences flowing from Policy 527. The contentions of harm are not caused by identification

on the Gang List or inclusion in the database. Rather, the “harms” claimed are the consequences

of criminal activity and an interaction with the criminal justice system, which are afforded a myriad

of due process protections by the code of criminal procedure.

        Factually, K.S.A. 21-6313 and WPD Policy 527 do not preclude Plaintiffs from associating




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with their families, with other gang members, or anyone else. Under K.S.A. 21-6313 and WPD

Policy 527, the individual Plaintiffs’ are free to meet and associate where and with whom they

please. Any current restrictions on Plaintiffs’ freedoms entail Levy’s imprisonment and Martel

Costello’s postrelease supervision. Neither is attributable to K.S.A. 21-6313 or WPD Policy 527.

        Progeny can, has, and continues to hold meetings and events without restriction by K.S.A.

21-6313 and WPD Policy 527.

        First Amendment protections may be triggered by a chilling effect of government action

because “First Amendment freedoms need breathing space to survive.’” Am. for Prosperity Found.

v. Bonta, ––– U.S. ––––, 141 S. Ct. 2373, 2389 (2021) (quoting NAACP v. Button, 371 U.S. 415,

433 (1963)). But, as Button made clear, that chilling effect must arise from “[t]he threat of

sanctions may deter” the the exercise of First Amendment freedoms as well as “the actual

application of sanctions.” Button, 371 U.S. at 433. Inclusion in the database is not a sanction nor

does it cause any sanction.

        Plaintiffs’ claims of a “subjective” chill are not adequate. Laird v. Tatum, 408 U.S. 1, 13–

14 (1972). Ward v. Utah, 321 F.3d 1263, 1267 (10th Cir. 2003). Plaintiffs tacitly expressed desire

to avoid being identified as gang members or associates is not the avoidance of a sanction,

prosecution or threat of prosecution.

E.      Standing conclusion.

        Plaintiffs lack standing. The records does not demonstrate an invasion of a legally protected

interest. Plaintiffs do not suffer any concrete and particularized harm from K.S.A. 21-6313 or

WPD Policy 527. The harms and injuries advanced by plaintiffs are conjectural or hypothetical—

not real—and are not imminent. Finally, a favorable decision by this Court does nothing to resolve

the claimed harms.




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                                          V. Conclusion

        For the foregoing reasons, the City of Wichita is entitled to judgment as a matter of law as

to all claims.

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                                      Certificate of Service

       On September 29, 2023, the foregoing was electronically filed with the Clerk of the Court
by using the CM/ECF system, which will send a notice of electronic filing to counsel of record:


                                                     s/David R. Cooper




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